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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


    S.K. and R.K., individually and on behalf                   ORDER GRANTING PLAINTIFFS’
    of G.K, a minor,                                               MOTION FOR SUMMARY
                                                                  JUDGMENT AND DENYING
            Plaintiffs,                                          DEFENDANTS’ MOTION FOR
                                                                    SUMMARY JUDGMENT
    v.
    UNITED BEHAVIORAL HEALTH, and                                    Case No. 2:18-cv-880-RJS-DBP
    the EMC CORPORATION HEALTH
    PLAN,                                                              Chief Judge Robert J. Shelby

            Defendants.                                          Chief Magistrate Judge Dustin B. Pead


           Plaintiffs S.K. and R.K. are the parents of G.K. S.K. was a participant in and G.K. was a

beneficiary under Defendant EMC Corporation Health Plan (the Plan), governed by the

Employee Retirement Income Security Act (ERISA).1 Defendant United Behavioral Health

(UBH) was the Plan’s designated behavioral health claims administrator.

           In 2016, G.K. was treated at a Utah residential treatment center (RTC), Sunrise Solacium

(Sunrise) after years of serious mental health issues, a suicide attempt, and extended

hospitalization. Defendants repeatedly issued denials for Plan coverage for the entire term of

treatment at Sunrise. Plaintiffs then initiated this action individually and on G.K.’s behalf,2

claiming: 1) Defendants breached fiduciary duties under ERISA, 29 U.S.C. § 1132(a)(B) in

denying benefits, and 2) the denial violated the Mental Health Parity and Addiction Equity Act

(Parity Act), 29 U.S.C. § 1132(a)(3).3



1
    29 U.S.C. § 1001 et seq.
2
 S.K. maintains individual claims, while R.K.’s were dismissed. See Dkt. 43, Order Following Oral Ruling. Both
parents pursue claims on their child’s behalf.
3
  Dkt. 2, Complaint, at 11-13 (using court’s ECF pagination). All citations herein to the parties’ filings will refer to
the page numbers on the court’s ECF pagination.


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           Now before the court are each side’s cross-motions for summary judgment.4 For the

reasons discussed below, Plaintiffs’ Motion is GRANTED and Defendants’ Motion is DENIED.

           I.       FACTUAL BACKGROUND

           The facts in both sides’ Motions are mostly undisputed. Indeed, Plaintiffs state they have

no specific objection to any fact in Defendants’ Motion for Summary Judgment.5

           Defendants purport to dispute a handful of specific facts in Plaintiffs’ Motion and lodge

an “omnibus” objection to “nearly every fact” in Plaintiffs’ Motion on the grounds they are

“replete with argumentative statements, legal conclusions, selective and/or misleading quotes . . .

[and] without any citation.”6 Thus, before summarizing the facts, the court discusses

Defendants’ omnibus objection and factual disputes.

           A.       Defendants’ Omnibus Objection to and Specific Disputes of Plaintiffs’ Facts

           As Plaintiffs note in their Reply, Defendants’ omnibus objection is unspecific and wholly

deficient under Federal Rule of Civil Procedure 56,7 which requires a party “asserting that a fact

cannot be or is genuinely disputed must support the assertion by:”

           (A) citing to particular parts of materials in the record, including depositions,
               documents, electronically stored information, affidavits or declarations,
               stipulations (including those made for purposes of the motion only),
               admissions, interrogatory answers, or other materials; or
           (B) showing that the materials cited do not establish the absence or presence of a
               genuine dispute, or that an adverse party cannot produce admissible evidence
               to support the fact.




4
 Dkt. 71, Plaintiffs’ Motion for Summary Judgment [SEALED] (Plaintiffs’ MSJ); Dkt. 73, Defendants’ Motion for
Summary Judgment [SEALED] (Defendants’ MSJ).
5
    Dkt. 84, Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment [SEALED] (Plaintiffs’ Opp.), at 4.
6
 Dkt. 83, Defendants’ Opposition to Plaintiffs’ Motion for Summary Judgment [SEALED] (Defendants’ Opp.) at 13
n.3.
7
    Dkt. 89, Plaintiffs’ Reply in Support of Motion for Summary Judgment [SEALED] (Plaintiffs’ Reply) at 2-3.


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            And as discussed below, multiple purported factual disputes by Defendants similarly fall

short. As Plaintiffs note, “on the balance,”8 Defendants do not actually dispute the substance of

Plaintiffs’ factual assertions.

            1.       Defendants purport to dispute Plaintiffs’ Fact No. 4, which provides “The

prelitigation appeal record contains very little information about G.K.’s medical condition until

her seventh-grade year.” Citing “generally” to the entire Administrative Record (A.R.),

comprised of thousands of pages, Defendants state that they dispute the fact “to the extent that

Plaintiffs characterize the documents, including G.K.’s clinical records, submitted in support of

Plaintiffs’ administrative appeals and contained in the A.R.”9 But this is not a specific dispute,

and does approach compliance with Rule 56. It neither shows Plaintiffs’ cited fact is inaccurate

nor identifies any part of the A.R. with information about G.K. before her seventh-grade year.

            2.       Defendants purport to dispute Plaintiffs’ Fact No. 34, which states “Accordingly,

G.K. was admitted into Solacium Sunrise (“Sunrise”), a residential treatment center on April 7,

2016.” Citing their own letters denying coverage for this treatment, Defendants state they

dispute this fact “to the extent that Plaintiffs state a conclusion of law as fact that G.K.’s

admission to Sunrise was appropriate or Medically Necessary as defined by the Plan.” This

response does not specifically dispute any part of Plaintiffs’ stated fact.

            3.       Defendants purport to dispute Plaintiffs’ Fact No. 41, which states “In an

Explanation of Benefits statement dated July 19, 2016, UBH denied payment for all of G.K.’s

treatment at Sunrise ‘due to No Authorization.’” Defendants contend the fact is disputed

because “Plaintiffs cite to arguments contained in their internal administrative appeal, not the



8
    Dkt. 89, Plaintiffs’ Reply, at 3.
9
    Dkt. 83, Defendants’ Opp., at 13.


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[EOBs]. The A.R. reflects that by EOBs dated July 19, 2016, G.K.’s treatment at Sunrise from

April 7, 2016 through June 30, 2016 was denied for lack of authorization. The A.R. also reflects

that subsequent EOBs dated from September 2016, October 2016, November 2016, December

2016, and March 2017 denied G.K.’s treatment at Sunrise from July 2016 through December

2016 for lack of authorization.”10 Defendants are not actually disputing a fact. To the extent they

simply wished to cite to the actual EOB rather than Plaintiffs’ appeal to support the fact, those

EOBs dated July 19, 201611 state what Plaintiffs did: that payment for care at Sunrise was denied

“due to No Authorization.” That “No Authorization” denial is not contested in this litigation.

            4.       Defendants dispute Plaintiffs’ Fact 51, in which Plaintiffs state “Defendants

arranged for an external review organization to evaluate their denial of G.K.’s claims.”

Defendants label this fact “inaccurate,” and state that “[a]ccording to the terms of the Plan,

MCMC is an external and independent review agent that was specifically designated by the Plan

to conduct final and binding second level appeal reviews, did not consider the Optum [UBH].12

RTC guidelines in upholding the adverse appeal determination of G.K.’s claim for coverage at

Sunrise from April 4, [sic] 2016 through December 20, 2016 on the basis of lack of medical

necessity.”13 Defendants do not actually dispute any part of Plaintiffs’ fact. Stating that the Plan

terms designated an external review doesn’t contradict that Defendants arranged for such an

external review, and Defendants done explain who else could have. But for purposes of

resolving the pending motions, and because Plaintiffs do not dispute them, the court accepts


10
     Id. at 13-14.
11
     Administrative Record [SEALED] (A.R.) 186-197
12
  UBH also uses the brand name Optum. See A.R. 140, 148, and 151 (Level of Care Guidelines, noting “Optum is
a brand used by United Behavioral Health and its affiliates.”). EOBs sent to Plaintiffs state on the bottom of some
pages, “United Behavioral Health, operating under the brand name Optum.” See A.R. 186, 190, 194, 198, 202, 206-
07, 211-12, 216-17, 221-22, 226-32.
13
     Dkt. 83, Defendants’ Opp., at 14 (citing A.R.2384-92).


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Defendants’ added facts concerning MCMC, including that it did not consider the Optum RTC

guidelines in upholding the adverse coverage determination.

           5.        Defendants similarly dispute Plaintiffs’ Fact 53, which states, “To evaluate

whether mental health treatment received at a residential treatment facility (such as Sunrise) was

medically necessary, Defendants utilized the Optum by United Behavioral Health Level of Care

Guidelines for 2016 (‘Optum Guidelines.’)” Defendants contend that the fact is “misleading and

inaccurate” because “MCMC, an external and independent review agent, which was specifically

designated by the Plan to conduct final and binding second level reviews, did not consider

Optum RTC guidelines in upholding the adverse appeal determination of G.K.’s claim for

coverage at Sunrise from April 4, 2016 through December 20, 2016 on the basis of lack of

medical necessity.”14 For purposes of resolving the pending motions, and because Plaintiffs do

not dispute them, the court accepts Defendants’ added facts concerning MCMC, including that

MCMC did not consider the Optum RTC guidelines in upholding the adverse coverage

determination. Defendants do not dispute UBH used its guidelines in its own denials.

           B.        The Factual Record for Summary Judgment

           Plaintiffs S.K. and R. K. are Plaintiff G.K.’s parents. Defendant EMC Corporation

established and maintained a group medical plan for its employees, the EMC Corporation Health

Plan (the Plan).15 The Plan is a self-funded employee welfare benefits plan under ERISA, 29

U.S.C.§1001 et. seq.16 S.K. was a member/participant in the Plan, and G.K. was a beneficiary

under the Plan as a dependent of S.K.17 Defendant EMC was the named Plan Administrator and



14
     Dkt. 83, Defendants’ Opp., at 14.
15
     Dkt. 73, Defendants’ MSJ, at 5 ¶ 1 (citing A.R. 1-139, 1393-2519).
16
     Id. at 6 ¶¶ 2-4 (citing A.R.10, 110, 114-15, 2410, 2415, 2422, 2503-05); Dkt. 71, Plaintiffs’ MSJ, at 3 ¶ 1.
17
     Dkt. 73, Defendants’ MSJ at 6 ¶¶ 2-3 (citing A.R. 10, 2422, 2504-05).


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Defendant United Behavioral Health (UBH) was the Plan’s claims administrator for mental

health benefits.18 UBH also uses the brand name Optum.19

           1. G.K.’s History

           While in seventh grade, in about 2013, G.K. began distancing herself from friends and

school activities.20 She later reported she began suffering from depression and anxiety about this

time.21 In the fall of 2014, it was discovered that she was visiting “anorexia websites and posting

comments about wanting to disappear.”22 At some point between 2013 and 2016, G.K. began

cutting herself and binging and purging food, but was able to conceal both activities—indeed, she

believed she was “able to keep her symptoms pretty much hidden” from her parents and

therapists.23 In about 2014, G.K. also began having suicidal thoughts. Those thoughts persisted

for the next two years.24

           Starting in March 2015, G.K. began seeing a therapist every week, and by the fall, with

her depression and anxiety worsening,25 she told her therapist she was anxious about going to

high school and had been avoiding going out to socialize.26 Around that time, she came out as a

lesbian and joined her school’s gay-straight alliance, but “did not connect with anyone in this




18
     Dkt. 71, Plaintiffs’ MSJ, at 3 ¶ 10; Dkt. 73, Defendants’ MSJ, at 6 ¶ 10 (citing A.R. 122-39, 2503).
19
     See supra footnote 12.
20
  Dkt. 2, Complaint, at ¶ 9; Dkt. 71, Plaintiffs’ MSJ, at 3 ¶ 5 (citing A.R.2387, part of MCMC’s Notification of
Second Level Appeal Determination).
21
     Dkt. 71, Plaintiffs’ MSJ, at 3 ¶ 6 (citing A.R.2333, part of a psychiatric evaluation performed at Sunrise).
22
     Id. at 4 ¶ 7 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).
23
  Id. at 4 ¶¶ 8-9, 15 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination, and
A.R.2333, part of a psychiatric evaluation done at Sunrise).
24
     Id. at 5 ¶ 17 (citing A.R.2331, part of an assessment done at Sunrise).
25
     Id. at 5 ¶ 18 (citing A.R.2333, part of a psychiatric evaluation done at Sunrise).
26
     Id. at 4 ¶¶ 10-11 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).


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group.”27 By December 2015, G.K. “began to show signs of anxiety, including being unable to

answer her Spanish teacher, walking out of class crying, and not being able to order in a fast food

restaurant.”28

            By December 2015 and January 2016, G.K. was having suicidal thoughts daily, and later

reported she felt she had no reason to live and that no one really cared about her.29 In mid-

January 2016, she attempted suicide by waiting until everyone else in her home went to bed, then

taking sixteen Tylenol and sixteen Advil and severely cutting her arm.30 After she texted 911,

G.K. was hospitalized for ten days.31 During that hospitalization, G.K. told staff she was suicidal,

left suicide notes in her room and on her phone, and used razor blades to cut herself.32

            After this, G.K. was transferred to Centennial Peaks Psychiatric Hospital (Centennial).

While a typical stay at Centennial is usually three to five days, G.K. was there for a month due to

her suicidal ideation—from January 28 to February 29, 2016.33 During that time, she stated that

she wanted to jump off a local bridge, and that she had hidden Advil, Tylenol, and Nyquil in her

room to use in ending her life.34

            Centennial referred G.K. to a facility called Northwest Passage for a thirty-day

assessment program. She was there from February 29 to April 5, 2016, for assessment and to




27
     Id. at 4 ¶ 13 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).
28
     Id. at 4 ¶ 14 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).
29
     Id. at 5 ¶¶ 19-20 (citing A.R.2331, part of an assessment done at Sunrise).
30
   Id. at 5 ¶ 21 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination, and 1238,
letter from Northwest Passage Case Manager Briana Bielmeier).
31
     Id. at 5 ¶ 22 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).
32
     Id. at 6 ¶¶ 23-24 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).
33
     Id. at 6 ¶¶ 25-26 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).
34
     Id. at 6 ¶ 27 (citing A.R.2387, part of MCMC’s Notification of Second Level Appeal Determination).


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receive medication to stabilize her depression and anxiety.35 But at Northwest Passage, G.K.’s

anxiety not only continued, but “appeared to be exacerbated by the other patients.”36 After her

assessment, the Northwest Passage recommended G.K. receive further residential treatment: 37

            At the completion of her assessment, the team recommended that she receive a
            higher level of care to monitor her and maintain her safety. She continued to
            present a high level of risk, including that it was necessary for her to be restricted
            from various means to harm herself. She was recommended to be discharged to a
            residential program to manage her suicidal ideation, self-harm behaviors and
            emotional dysregulation. . . The team recommended intensive treatment to
            manage [G.K.’s] emotions and behaviors, and to help her learn and generalize
            therapeutic skills. Ample support services are needed both academically and
            therapeutically. There is significant concern that without interventions her
            patterns of emotional distress will continue.38

            Thus, G.K. was admitted to Sunrise on April 7, 2016. The State of Utah has licensed

Sunrise as a “residential treatment” program under its laws, including Utah Code Annotated §

62A-2-101.39 On admission, G.K. was diagnosed with:

                     A.        Major Depressive Disorder, recurrent severe;
                     B.        Generalized Anxiety Disorder;
                     C.        Social Anxiety Disorder; and
                     D.        Emerging Avoidant Personality Traits.40
            G.K. remained at Sunrise for just over eight months, until her discharge on December 20,

2016. While there, G.K. received daily group therapy, weekly individual and family therapy,




35
     Id. at 6 ¶ 29, 30 (citing A.R.2387-88, part of MCMC’s Notification of Second Level Appeal Determination).
35
     Id. at 7 ¶ 31 (citing A.R.2388, part of MCMC’s Notification of Second Level Appeal Determination).
36
     Id. at 7 ¶ 32 (citing A.R.2388, part of MCMC’s Notification of Second Level Appeal Determination).
37
     Id. at 7 ¶ 33 (citing A.R.2388, part of MCMC’s Notification of Second Level Appeal Determination).
38
     A.R. 2388 (part of MCMC’s Notification of Second Level Appeal Determination).
39
     Dkt. 84, Plaintiffs’ Opp., at 4-5 ¶¶ 1-6.
40
     Dkt. 71, Plaintiffs’ MSJ, at 7 ¶ 35 (citing A.R. 2332, part of a Sunrise Treatment Plan dated April 9, 2016).


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and milieu therapy interventions as needed.41 In addition to these regular therapies, she also

received Dialectical Behavioral Therapy, process therapy, shame resiliency therapy, and

participated in distress tolerance and emotion regulation skills practices.42

            At Sunrise, G.K. initially struck her treatment team and staff as pleasant, calm, and kind,

denying suicidal ideation.43 However, staff would record observations that G.K. “seemed to be

shy when asking for her basic needs to be met” and “[G.K.] seemed to overall have a positive

day because she kept her emotions at face value.”44

            Shortly after her admission into Sunrise, G.K.’s treatment team noted that G.K.

“struggle[d] with anxiety and depression[,]” but that she would “need to be challenged to be

genuine and honest with where she’s at emotionally” because “[s]he puts on a front of being very

sweet and calm.”45 Her treatment team warned staff:

            [B]e very aware of her relationships to make sure they are safe and appropriate.
            Point out inconsistencies between her behavior and her mood (if she is saying
            she’s depressed but isn’t showing it). Staff can model how to share emotions and
            show her it’s ok to let these things out.46

            These concerns, along with her treatment team’s extra call for staff to be particularly

observant when interacting with G.K., were reflected in the following staff and treatment team

notes indicating G.K. was manifesting symptoms of ongoing depression, avoidance, and anxiety:

            May 1, 2016 – “G.K. seems to be depressed and withdrawn from her community.
            Writer has observed her [sic] that she seems to observe others and tends to shy



41
  Dkt. 84, Plaintiffs’ Opp., at 5 ¶ 7 (citing A.R. 1045, part of a Sunrise Treatment Plan dated April 9, 2016
(appearing to be identical to A.R. 2332)).
42
     Id. at 5 ¶ 8 (citing A.R. 946-49, G.K.’s Master Treatment Plan at Sunrise).
43
     Dkt. 71, Plaintiffs’ MSJ, at 7 ¶ 36 (citing A.R. 980-1041, Sunrise treatment notes).
44
     Id. at 7-8 ¶ 36 (citing A.R. 1041, 1014 Sunrise treatment notes).
45
     Id. at 8 ¶ 37 (citing A.R. 2334, part of a psychiatric evaluation).
46
     Id.


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            away when reaching out. [G.K.] seems to isolate to herself most of the time. She
            was respectful towards staff as well as peers with very little interaction.”47

            May 2, 2016 – “[G.K.] seemed to have a high level of stress and anxiety today.
            She appears to have tried multiple tactics to get her one team to be mutually
            respectful, with no solid results. [G.K.] expressed to staff that she doesn’t feel like
            she is able to grow in her current situation. . . . Staff tried to reach out to [G.K.] to
            make her feel safe and supported. Staff encouraged her to reach out when she felt
            like she was struggling with her peers or her feelings.”48

            May 4, 2016 – “[G.K.] seemed to struggle a lot emotionally today. After getting
            her feedback from treatment team she seemed upset and talked with writer about
            not understanding what they were asking her. [G.K.] said she feels like she’s
            being herself and that she doesn’t feel the need to work on relationships with her
            peers. [G.K.] said she’s never had a lot of relationships and that thats [sic] fine
            with her. [G.K.] seemed to get very emotional while talking with writer about this
            and even teared up a little. Throughout the night [G.K.] was respectful and did
            what was expected of her but she seemed to be upset and depressed.”49

            May 5, 2016 – “[G.K.] appeared to be very closed off. She was compliant with
            the one team and was respectful to writer. She seemed to keep her conversations
            surface level and seemed to keep the relationship with writer at arms [sic] length.
            [G.K.] appeared to be willing and positive towards the community and staff.
            Writer observed [G.K.] to become deep in her feelings when she felt no one was
            looking…”50

            May 6, 2016 – “[G.K.] seemed aloof, introspective, and quiet today. She seemed
            to isolate and read a lot throughout the shift and seemed to shift and not respond
            when asked to check in emotionally. She seemed a bit more frustrated at her peers
            on the one team today and seemed more agitated than usual . . . .”51

            May 7, 2016 – “[G.K.] struggles with self-advocacy. She has a hard time asking
            for help from teachers. She struggles in social settings.”52

            May 7, 2016 – “[G.K.] is really good at disguising her anxiety and emotions …
            [G.K.] has opportunities to open up to her peers and staff, but doesn’t seem to be
            taking the chance to do so. [G.K.] has high social anxiety, so what she needs and
            wants (to be heard, etc), is also the scariest thing for her. Staff will work on

47
     Id. at 8 ¶ 38 (citing A.R. 2336, a residential progress note).
48
     Id. at 8 ¶ 38 (citing A.R. 2337, a residential progress note).
49
     Id. at 9 ¶ 38 (citing A.R. 2338, a residential progress note).
50
     Id. at 9 ¶ 38 (citing A.R. 2339, a residential progress note).
51
     Id., at 9 ¶ 38 (citing A.R. 2340, a residential progress note).
52
     Id. at 9 ¶ 38 (citing A.R. 2341, part of a Master Treatment Plan).


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            challenging [G.K.] to explore her emotions . . . . [G.K.] still hasn’t opened up in
            class, and continues to remain quiet.”53

            May 20, 2016 – “[G.K.] did not seem to open up to peers or staff today. She was
            agreeable to the point that it was suspicious. She seemed to lay in her bed and
            isolate after she was done with her morning responsibilities. Overall she seemed
            to have a less than average day on the AM shift today.”54

            May 23, 2016 – “[G.K.] is reporting that her depression has not improved and that
            she thinks it may be worse and the anxiety is still a problem. She still finds little
            joy in her life. . . .[G.K.’s] mood is quite depressed, seems quite sad, nothing to
            look forward to, feels safe here at Sunrise but would not be safe at home. She is
            feeling somewhat hopeless and helpless . . . .”55

            May 25, 2016 – “… [G.K.] struggles to assert her needs assertively and seems to
            give up easily. When asked why she doesn’t push for her needs, she expresses that
            she feels it doesn’t matter. [G.K.] seems to be struggling to find the value in
            boundaries as well as her personal needs.”56

            June 4, 2016 – “[G.K.] seems to avoid talking about anything beneath the surface
            level with staff and peers but continues to do well following basic house
            expectations.”57

            July 9, 2016 – “[G.K.] told staff she was feeling very anxious today. She said she
            feels anxious all the time, and if she wasn’t anxious, she would be bored all the
            time. … [G.K.] seemed very isolated today. She appeared to try to smooth things
            over with her roommates and staff today, rather than find a solution to the
            conflict. [G.K.] seemed very anxious, and was exercising to cope with the
            anxiety. At lunch she told staff that she feels anxious all the time. She said it is
            her normal feeling, and if she didn’t feel constantly anxious, that she would be
            bored, as if [nothing] exists about her personality outside her anxiety. Staff asked
            her what she thought she could accomplish if she was not anxious all the time.
            She said she didn’t know.”58




53
     Id. at 9 ¶ 38 (citing A.R. 2343, a treatment team update).
54
     Id. at 10 ¶ 38 (citing A.R. 2344, a residential progress note).
55
     Id. at 10 ¶ 38 (citing A.R. 2347, psychiatric notes).
56
     Id. at 10 ¶ 38 (citing A.R. 2348, a residential progress note).
57
     Id. at 10 ¶ 38 (citing A.R. 2349, a residential progress note).
58
     Id. at 10-11 ¶ 38 (citing A.R. 2350, a residential progress note).


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As her stay at Sunrise progressed, G.K. began confronting her anxiety, avoidant

behaviors, and depression, and Sunrise staff and treatment team started expressing hope

in her outlook, as reflected in some treatment notes:

            September 16, 2016—[G.K.] indicated that her anxiety was higher than normal,
            and she had a hard time in family therapy and started crying out of frustration.59

            September 19, 2016 – “[G.K.] indicates that she is doing quite well and feels good
            about her progress. She does appear to fewer [sic] complaints than she has had in
            the past, attitude does appear to be more positive. . . . She looks good today,
            engages well in the conversation, mood seems to be quite stable, affect is bright,
            denies self-harm thoughts, much less critical of others and herself, less blaming,
            appetite is better and her weight is stable.”60

            September 28, 2016 – “[G.K.] did not appear to be anxious tonight. She seemed to
            be calm and content. [G.K.] seemed to start conversations throughout the night
            with staff as well as peers. She did not appear to hesitate to start any. [G.K.] did
            appear to be anxious when getting behind in the house schedule and seemed to
            manage her anxiety well. … [G.K.] did not appear depressed. She seemed happy
            and excited that her parents sent her origami stuff. She appeared to do that most of
            the night when not doing what was expected of her at that time.”61

            October 17, 2016 - “[G.K.] is doing quite well, happy with her present
            combination of meds. She indicates that she had a good visit with parents over
            parent weekend. She would like to continue the present medications. She looks
            super today, pleasant, engages well in the conversation, mood is stable, much less
            of the depression, affect is bright, denies self-harm thoughts, appears to have no
            side effects to the present medications. She is expecting to be on level four
            shortly.”62

            December 5, 2016 – “[G.K.] is doing very well, had a super home visit and visited
            some schools where she plans to enroll after finishing at Sunrise later this month.
            She is excited about the new changes for her. She would like to stay on her
            present medications when discharged. … [G.K.] looks super today, engages well
            in the conversation, seems to enjoy my dog and excited told me about the two
            new puppies they have at home. Her mood is stable, affect is bright and [attitude]
            is quite positive. We discussed her meds and plan to stay with the present
            regimen. I left a message for mom that we will have prescriptions for [G.K.] at

59
     A.R. 2352 (residential progress note).
60
     Id. at 11 ¶ 39 (citing A.R. 2353, psychiatric notes).
61
     Id. at 11 ¶ 39 (citing A.R. 2354, a residential progress note).
62
     Id. at 11-12 ¶ 39 (citing A.R. 2355, psychiatric notes).


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            discharge with refill. [G.K.] did indicate that she has a therapist and a psychiatrist
            for follow-up when she returns home.”63

On December 20, 2016, G.K. was successfully discharged from Sunrise.64

            2. The EMC Plan Claim Administration and Appeal Terms

            EMC is the Plan Administrator, and UBH administers mental health claim services under

the Plan.65 The Plan gives the EMC as Administrator “complete discretionary authority with

regard to the operation, administration and interpretation of the Plan, and any determination by

the Plan Administrator relating to the Plan shall be final, binding and conclusive in the absence

of clear and convincing evidence that the Plan Administrator acted arbitrarily and

capriciously.”66 But EMC as Administrator “may also delegate any of its responsibilities under

the Plan to any other person or entity.”67 And it delegated behavioral health claims

administration to UBH.

            The Plan charges UBH with reviewing and approving (or denying) pre-service,

concurrent, post-service, and urgent claims for Behavioral Health Services.68 If UBH denies

benefits, it must provide notice to “explain the reason for denial, refer to the part of the Plan on

which the denial is based, and provide the claim appeal procedures.” The Plan also states UBH

will conduct first level pre-service and post-service claim appeals, as well as urgent appeals.69




63
     Id. at 12 ¶ 39 (citing A.R. 2356, psychiatric notes).
64
     Id. at 12 ¶ 40 (citing A.R. 2381-82, letter dated June 13, 2107, from Sunrise treating therapist Ke’ala Cabulagan).
65
  Plan claims for medical/surgical benefits are administered by Blue Cross Blue Shield of Massachusetts. See Dkt.
73, Defendants’ MSJ, at 6 ¶ 9 (citing A.R. 2393-2500, 2503).
66
     Id. at 6 ¶ 5 (citing A.R. 2502, 2508, 2510).
67
     Id. at 6 ¶ 6 (citing A.R. 2502).
68
     Id. at 8 ¶ 16 (citing A.R. 137-138).
69
     Id. at 8 ¶ 18 (citing A.R. 138).


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For urgent appeals, UBH’s decision is “final and binding.”70 But for non-urgent appeals beyond

the first level, claimants who have been denied benefits may seek a “second level appeal” by

providing materials to MCMC, a third-party independent review organization hired by EMC.71

           3. Plan Coverage Terms

           The Plan covers only “medically necessary” mental health services at both inpatient and

outpatient levels of care, including residential treatment.72 All care “is subject to review based

upon plan’s relevant clinical criteria (available upon request), and all providers and facilities

must meet Optum [UBH] Behavioral Solutions’ credentialing and licensing criteria.”73

           Further, any mental/behavioral health service must also be a “Covered Service,”

meaning: 1) “provided for the purpose of preventing, diagnosing or treating a behavioral

disorder, psychological injury or substance abuse addiction,” 2) “described in the section titled

‘What This Plan Pays,’” and 3) not listed in the section entitled ‘Not Covered-Exclusions.’74

These listed exclusions include “Services or supplies for MHSA [mental health/substance abuse]

Treatment that, in the reasonable judgment of Optum are any of the following:”

                 •   not consistent with the symptoms and signs of diagnosis and treatment of
                     the behavioral disorder, psychological injury or substance abuse;

                 •   not consistent with prevailing national standards of clinical practice for the
                     treatment of such conditions;


70
     A.R. 138.
71
     Dkt. 73, Defendants’ MSJ, at 9 ¶ 19 (citing A.R. 138).
72
  Id. at 6 ¶ 11 (citing A.R. 127). The Plan terms Defendants recite in their Motion for Summary Judgment here, that
both parties cite in other briefing often appear to come from Summary Plan Descriptions. For instance, this cited
reference to “medically necessary” comes from a part of the A.R. stating “Summary Plan Description: This
summary together with the Health and Welfare Plan Summary Plan Description constitute the complete Behavioral
Health Plan Summary Plan Description. The Health and Welfare Plan Summary Plan Description can be accessed at
www.peoplelinkbenefits.com/spd/health_welfare.pdf.” A.R. 122. The parties do not dispute the recitations of Plan
terms derives from the Summaries, and the court applies them.
73
     A.R. 127.
74
     Dkt. 73, Defendants’ MSJ, at 7 ¶ 12 (citing A.R. 128).


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                •    not consistent with prevailing professional research demonstrating that the
                     service or supplies will have a measurable and beneficial health outcome;

                •    typically do not result in outcomes demonstrably better than other
                     available treatment alternatives that are less intensive or more cost
                     effective; or

                •    not consistent with Optum’s Level of Care Guidelines or best practice as
                     modified from time to time (available upon request).

            Optum may consult with professional clinical consultants, peer review
            committees or other appropriate sources for recommendations and information.75

            The Plan also excludes “[c]ustodial care” coverage, except for “the acute stabilization

and return back to your baseline level of individual functioning.” Care is “custodial” when:

                •    it provides a protected, controlled environment for the primary purpose of
                     protective detention and/or providing services necessary to assure
                     competent functioning in activities of daily living; or

                •    it is not expected that the care provided or psychiatric treatment alone will
                     reduce this disorder, injury or impairment to the extent necessary to
                     function outside a structured environment. 76

The Plan states these exclusions apply “regardless of whether the services, supplies or treatment

described in this section are recommended or prescribed by your provider and/or are the only

available treatment options for your condition.”77

            4. Optum (UBH) Level of Care Guidelines

            In 2016, UBH/Optum in its benefits determinations applied Level of Care Guidelines

defining a “Residential Treatment Center for Mental Health Conditions” as:

            A sub-acute facility-based program which delivers 24-hour/7-day assessment and
            diagnostic services, and active behavioral health treatment to members who do
            not require the intensity of nursing care, medical monitoring and physician
            availability offered in Inpatient.

75
     Id. at 7-8 ¶ 14 (citing A.R. 132).
76
     Id. at 8 ¶ 14 (citing A.R. 132).
77
     Id. at 8 ¶ 15 (citing A.R. 132).


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            The course of treatment in a Residential Treatment Center is focused on
            addressing the “why now” factors that precipitated admission (e.g., changes in the
            member’s signs and symptoms, psychosocial and environmental factors, or level
            of functioning) to the point that the member’s condition can be safely, efficiently
            and effectively treated in a less intensive level of care.78

            The Guidelines provide admissions criteria for “Residential Treatment Center for Mental

Health Conditions.” These criteria require a showing of the following:

            •        Common Criteria for all Levels of Care are satisfied; AND

            •      The member “is not in imminent or current risk of harm to self, others,
            and/or property” AND;

            •       “The ‘why now’ factors leading to admission cannot be safely, efficiently
            or effectively assessed and/or treated in a less intensive setting due to acute
            changes in the member’s signs and symptoms and/or psychosocial and
            environmental factors. Examples include:

                     o Acute impairment of behavior or cognition that interferes with activities
                     of daily living to the extent that the welfare of the member or others is
                     endangered.

                     o Psychosocial and environmental problems that are likely to threaten the
                     member’s safety or undermine engagement in a less intensive level of care
                     without the intensity of services offered in this level of care.79

            To meet the “Common Criteria” required for residential treatment, a claimant must show

the following, in relevant part:

            The Plan “member’s current condition cannot be safely, efficiently, and
            effectively assessed and/or treated in a less intensive level of care due to acute
            changes in the member’s signs and symptoms and/or psychosocial and
            environmental factors (i.e., the ‘why now’ factors leading to admission).”80
                     “Failure of treatment in a less intensive level of care is not a prerequisite
                    for authorizing coverage.”81


78
     Id. at 9 ¶ 21 (citing A.R. 1199).
79
     Id. at 9-10 ¶ 22 (citing A.R. 1200), see also A.R. 1199.
80
     Id. at 10 ¶ 24 (citing A.R. 1203).
81
     Id. at 10 ¶ 24 (citing A.R. 1203).


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            And:

            “[t]he member’s current condition can be safely, efficiently, and effectively
            assessed and/or treated in the proposed level of care. Assessment and treatment of
            acute changes in the member’s signs and symptoms and/or psychosocial and
            environmental factors (i.e., the ‘why now’ factors leading to admission)82

            “Co-occurring behavioral health and medical conditions can be safely
            managed.”83

            “Services are the following:
                   o Consistent with generally accepted standard of clinical practice;
                   o Consistent with services backed by credible research soundly
                   demonstrating that the services will have a measurable and beneficial
                   health outcome, and are therefore not considered experimental;
                   o Consistent with Optum’s best practice guidelines;
                   o Clinically appropriate for the member’s behavioral health conditions
                   based on generally accepted standards of clinical practice and
                   benchmarks.”84

            “There is a reasonable expectation that service will improve the member’s
            presenting problems within a reasonable period of time.”

                                                ***

            And, “[t]reatment is not primarily for the purpose of providing social, custodial,
            recreational, or respite care.”85

            In addition to these admissions criteria, UBH applies Level of Care Guidelines Criteria

for “continued service” at residential treatment centers, including:

            “Treatment is not primarily for the purpose of providing custodial care,” meaning:

            •   “Non-health-related services, such as assistance in activities of daily living
                (examples include feeding, dressing, bathing, transferring and ambulating).”

            •   “Health-related services that are provided for the primary purpose of meeting
                the personal needs of the patient or maintaining a level of function (even if the
                specific services are considered to be skilled services), as opposed to

82
     Id. at 10 ¶ 24 (citing A.R. 1203).
83
     Id at 10 ¶ 24 (citing A.R. 1204).
84
     Id. at 10-11 ¶ 24 (citing A.R. 1204).
85
     Id. at 11 ¶ 24 (citing A.R. 1204).


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                improving that function to an extent that might allow for a more independent
                existence,” or

            •   “Services that do not require continued administration by trained medical
                personnel in order to be delivered safely and effectively.”86

            5. Plaintiffs’ Claim for Plan Benefits

            There is little in the parties’ briefing about how the claim for G.K.’s treatment was

initiated.87 But UBH case notes indicate one of their employees spoke to S.K. on April 7, 2016

and learned the Plaintiffs were trying to have G.K. transferred to Sunrise, a long-term residential

care facility in Utah. When another UBH employee contacted (apparently) S.K., she was not

willing to accept alternative treatment facilities. G.K. was apparently admitted to Sunrise on

April 7, 2016, before authorization had been obtained.88

            a. Initial Denial for Lack of Authorization

            In multiple EOBs Optum/UBH issued dated July 19, 2016, G.K.’s treatment at Sunrise

from April 7, 2016 through June 30, 2016 was denied by UBH for lack of authorization.89 In

later EOBs dated from September 2016, October 2016, November 2016, December 2016, and

March 2017, Optum/UBH denied G.K.’s treatment at Sunrise from July 2016 through December

2016, again, for lack of authorization.”90 Plaintiffs do not appear to take issue with these denials.




86
     Id. at 10 ¶ 23 (citing A.R. 1200).
87
  Plaintiffs offer almost no explanation in their Motion for Summary Judgment, and Defendants primarily cite to
UBH case notes. Dkt. 73, Defendants’ MSJ, at 11 ¶ 25-28. Plaintiffs do not take issue with their citation, so the
court summarizes them above.
88
     Dkt. 73, Defendants’ MSJ, at 10-11 ¶¶ 25-30 (citing A.R. 233-47).
89
     A.R. 186-197.
90
     A.R. 198-225.


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           b. Retrospective Review

           By letter dated October 13, 2016, S.K. asked UBH to conduct a retrospective review of

the claim for coverage for G.K.’s treatment at Sunrise from April 7, 2016 on and to provide

authorization for G.K.’s continued treatment on the basis it was medically necessary with this

letter.91 S.K. provided hundreds of pages of G.K.’s Sunrise medical records to UBH, dated from

April 7-October 14, 2016.92

           UBH apparently received the letter and records on October 20, 2016. Just over a week

later, on October 28, 2016, UBH Associate Medical Director Dr. Gary Rosenberg, M.D.,

responded to S.K., stating he had conducted a retrospective review applying Optum Level of

Care Guidelines for Mental Health Residential Rehabilitation, and denying coverage for all the

claimed Sunrise residential treatment care—beginning from day one, April 7, 201693 Dr.

Rosenberg explained his review “included an examination of the following: UBH case notes, and

medical records.” And though Defendants contend internal UBH case notes indicate he also

called one of G.K.’s treating providers to conduct an interview,94 Dr. Rosenberg does not refer

to or state that he relied on any part of that phone call in his denial letter.



91
  Dkt. 71, Plaintiffs’ MSJ, at 12-13 ¶ 43 (citing A.R. 269-70). A.R. 268-1101. Defendants’ Fact on this point states
that the letter is dated October 20, 2016, but it is dated October 13, 2016. See Dkt. 73, Defendants’ MSJ, at ¶ 32. A
receipt appears to show the letter was received by UBH on October 20, 2016. See A.R. 268. This discrepancy in
dates is immaterial.
92
     A.R. 271-1101.
93
     Dkt. 73, Defendants’ MSJ, at 13 ¶ 35 (citing A.R. 1102-1105).
94
   Id. at 13 ¶ 36 (citing A.R. 1102). Defendants contend in their Motion that UBH case notes “document[s] Dr.
Rosenberg conducted a live telephone interview with one of [G.K.’s] treating providers at Sunrise concerning G.K.’s
treatment . . . .” The cited records, A.R. 248-49, document the substance of the retrospective review decision. The
“Note-Type” is “Non-Urgent Appeal” and it is noted that the “Materials Used in Review” are “case and medical
records.” There is a reference to a telephone interview “with AP’s designee” at 10:00 a.m.—about an hour and a
half before the decision issued. (A.R. 248). There is no explanation who the AP Designee is. Below that notation is
a “CA Summary” recounting G.K.’s medical history. The record is not clear that that is a summary of a phone call.
But Plaintiffs do not offer a different interpretation, and the court takes as true that Dr. Rosenberg called an
unidentified treatment provider at Sunrise and obtained the information in the CA summary, in addition to the
medical records he expressly states he reviewed.


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           Dr. Rosenberg provided his rationale for UBH’s denial in the following paragraphs:

           Your child was admitted for treatment of depression and anxiety. After reviewing
           the medical records, your child had made good progress and no longer needed the
           type of care provided in this setting. While your child continued to face
           challenges as she worked on his [sic] issues, your child had progressed to the
           point that she was not in immediate danger of hurting herself. Your child may
           have required support staff for these issues, however, she did not require this kind
           of structure, monitoring and clinical support found in this setting.

           This does not mean that your child could not have received further treatment.
           Instead, your child could have continued care in a mental health partial
           hospitalization.95

           c. Level One Appeal

           In a December 22, 2016 letter, S.K. submitted to UBH a Level One appeal (mistakenly

labeled “Level Two Member Appeal” due to a misstatement by UBH) of the retrospective review

denial of coverage for G.K.’s care at Sunrise.96

           In a responsive letter to Plaintiffs dated January 4, 2017, UBH Associate Medical

Director Dr. Melinda Privette, M.D., upheld the coverage denial for all of G.K.’s residential

treatment at Sunrise again from day one.97 Dr. Privette based her decision on “case notes and

medical records,” and denied coverage citing the following rationale:

           Your child was admitted for boarding school, and for treatment of depression and
           anxiety. After reviewing the medical records, your child did not need to be in a
           24-hour mental health residential rehabilitation setting. Your child was not
           suffering from an acute behavioral health condition at this point. She was in
           control of her emotions and not acting on any negative feelings. She did well in
           school, was cooperative with chores and activities, went on extended hiking trips
           and off grounds passes and worked on anxiety, mood and relationships. Your
           child could have received individual, group and family therapy by outpatient
           providers. Your health plan provides coverage for acute behavioral care, not for
           long term custodial care. Your health plan does not allow individual services,
           such as therapy, provided in an overall uncovered service, residential care, to be


95
     Dkt. 73, Defendants’ MSJ, at 13 ¶¶ 36-38 (citing A.R. 1102).
96
     Id. at 14 ¶ 41 (citing A.R. 1111-15).
97
     Id. at 14 ¶¶ 42-43 (citing A.R. 1116-19).


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            paid for separately. If the residential service is not covered, as it is not covered in
            this case, then no parts of it are covered.98

            d. External Level Two Appeal

            Plaintiffs then sought an external second level appeal in a twenty-page letter to UBH

dated June 28, 2017.99 Responding to UBH’s prior appeal denial, Plaintiffs argued Sunrise was a

licensed and accredited residential treatment center rather than a “boarding school” as Dr.

Privette had stated; that G.K’s treatment there did not amount to uncovered “custodial care;” and

that G.K.’s initial admission and continued care were medically necessary and covered under

Optum Guidelines in view of G.K.’s personal history and treatment.100

            S.K. also attached letters from multiple treating providers from Northwest Passage

(Brianna Bielmeier, case manager, and Dr. Robert T. Law, pediatric neuropsychologist) and

Sunrise (Ke’ala Cabulagan, therapist).101 Each opined that G.K.’s admission and treatment at

Sunrise was medically necessary.102

            First, Bielmeier noted that at Northwest, G.K. was eventually “willing to engage,” but

“continued to struggle with social interactions.” And “[w]hile this, in and of itself, was not



98
     Id. at 14 ¶ 43 (citing A.R. 1116).
99
     Id. at 14 ¶ 44 (citing A.R. 1125-49).
100
      Id.
101
      Dkt. 71, Plaintiffs’ MSJ, at 14-16 ¶¶ 46-49 (citing A.R. 1237-42, 2380-83
102
    There is some confusion in the briefing as to when these letters were provided to Defendants. Plaintiffs in their
Motion for Summary Judgment included in their Statement of Facts that “45. [S.K.] appealed a second time [after
the October 28, 2016 denial] . . . enclosing [G.K.’s] medical records and letters from various professional who had
treated G.K. supporting the contention that her treatment was medically necessary. 46. [S.K.] attached several
letters from professionals who had treated G.K. to her second level appeal, all opining that G.K.’s admission into
Sunrise was medically necessary.” Dkt. 71, Plaintiffs’ MSJ, at 15-16. Defendants do not dispute this fact in their
“Response to Plaintiffs’ Statement of Undisputed Material Facts.” Dkt. 83, Defendants’ Opp., at 13-15. But they do
argue in the body of their Opposition that Plaintiffs did not submit the letters until the second level review to
MCMC. Id. at 34. It is clear that the letter from Ms. Cabulagan, dated June 13, 2017, could not have been
submitted to UBH preceding the October 28, 2016 and January 4, 2017 decisions from UBH. And because
Plaintiffs don’t further contest the issue, the court accepts for purposes of summary judgment Defendants’ assertion
that none of the letters were provided before MCMC considered them in conjunction with the external review.


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problematic, the pattern of social anxiety and challenges with peer interactions has contributed to

[her] depression and suicidal ideation.” Continuing, Bielmeier noted:

            [G.K.] also had a difficult time expressing her emotions and relied on others to
            notice the symptoms and initiate the conversations. As a result [her] ability to
            maintain in the community or in lower levels of care continue to put her at risk of
            suicidal ideation and further isolative/avoidant behaviors.

            [G.K.’s] clinical team recommended that [she] continue to receive a high level of
            care to monitor her affect and maintain her safety. [G.K.] continues to present a
            high level of risk given her struggles to utilize skills. At the time of her discharge,
            it was still important for [her] to be restricted from various means of harm to
            herself. It was recommended and medically necessary that [G.K.] receive
            intensive therapeutic services in a residential treatment facility to address her
            mental health needs. It was recommended that the residential environment be
            structured and supportive while [G.K.] learns more appropriate skills to manage
            her suicidal ideation, self-harming behaviors[,] and emotion dysregulation. This
            pattern appeared to be surrounded by anxiety, depression, and emotion
            dysregulation.103

            Second, pediatric neuropsychologist Dr. Robert T. Law noted that the Northwest Passage

clinical team had recommended for G.K.: 1) medical management by a psychiatrist and 2)

“support and guidance in a residential treatment center to learn and generalize therapeutic

skills.”104 Dr. Law stated that G.K.’s “continued struggles with anxiety and depression have

severely impacted her safety and functioning in her daily life.”105 The clinical team therefore

had “significant concern” that without the recommended interventions, “[G.K.’s] patterns of

emotional distress will continue.”106

            Third, Sunrise therapist Ke’ala Cabulagan opined that G.K. needed residential care from

April through December 2016 because, given her suicidal history, her continued anxiety and lack




103
      Dkt. 71, Plaintiffs’ MSJ, at 15 ¶ 47 (citing A.R. 1238-39).
104
      Id. at 15 ¶ 48 (citing A.R. 1241-42).
105
      Id. at 15 ¶ 48 (citing A.R. 1241-42).
106
      Id.


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of desire to form relationships would have prevented “any success in returning to home or

receiving lower levels of care during the time period of treatment with Sunrise.”107

            UBH responded to the letter on July 19, 2017, notifying Plaintiffs that “UBH is not

delegated to process your second level appeal.”108 Rather, “MCMC has been designated by

EMC to conduct non-urgent Second Level appeal[s].”109

            So, on October 4, 2017, Plaintiffs sent the twenty-page second level appeal letter directly

to MCMC, along with hundreds of pages of exhibits. These exhibits included: 1) documents

showing Sunrise’s licensure as a residential treatment center, 2) Optum Level of Care Guidelines

and other coverage criteria, 3) American Academy of Child & Adolescent Psychiatry Principles

of Care applicable in residential treatment, 4) letters from G.K.’s treatment providers at

Northwest and Sunrise, and 5) all G.K.’s medical records from Sunrise—hundreds of pages.110

            In a letter dated March 22, 2018, MCMC upheld UBH’s coverage denial for G.K.’s entire

term of treatment at Sunrise, from April 7, 2016 to December 20, 2016.111 MCMC explained

that this conclusion was reached “[a]fter a review by an independent Board Certified physician

of the Plan Language and clinical records” in which the physician “determined that the dates of

serviced [sic] being appealed are not medically necessary . . .”112 The lone citation to Plan

Language in the letter is in the following passage: “The Plan states that ‘only medically




107
      Id. at 15 ¶ 49 (citing A.R. 2381-82).
108
      Dkt. 73, Defendants’ MSJ, at 24 ¶ 43 (citing A.R. 1153-54).
109
      Id.
110
      Id. at 24 ¶ 46 (citing A.R. 1160-2283).
111
      Id. at 15 ¶¶ 50-51 (citing A.R. 2384, 2386).
112
      Id. at 15 ¶¶ 51 (citing A.R. 2386).


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necessary care will be approved and paid under the plan. All care is subject to review based on

[sic] plan’s relevant care criteria . . . .”113

           The letter then sets forth the reviewing physician’s rationale for denial embedded in a

single, albeit lengthy, paragraph:

           In this case, the patient is hospitalized after a suicide attempt in January 2016. She
           has three psychiatric hospital placements from that hospitalization, prior to her
           entering the Residential Treatment Center during the dates in question. At the
           time of placement, she is not suicidal. She has improved significantly from the
           time of her initial hospitalization, though she remains requiring intensive
           treatment and is vulnerable to relapse. It is her vulnerability to relapse that is
           stressed as the basis of her requiring RTC level of care, along with her need for
           continuous in the moment counseling during this time period. However, she goes
           on several day trips and extended home passes with the family during this time
           period as well as a camping trip, which is not continuous for her need for
           continuous in the moment counseling. There is a time that she regresses in May
           2016 and has an increase in depression and worry that were she home she would
           experience suicidal ideation. There are multiple alternative placements in which
           her need for continued intensive treatment and monitoring could be achieved, less
           intensive than the RTC. It is general standard of care to treat an individual at the
           least restrictive setting in which RTC environment. She goes on passes and trips,
           so the treatment that she receives in reality is more consistent with a group home
           treatment, with access to family and to community. A group home environment,
           through state department of mental health services (which the records do not
           indicated were sought in this case) would provide significant structure, continuous
           and in the moment counseling and support and a safe environment in which to
           build around additional services. A therapeutic school, for instance, along with
           outpatient individual group, medication management and family treatment
           services. The lack of actual 24/7 care and the lack of accessing community
           educational and therapeutic services including group living services indicates she
           was not being treated in the least intensive environment in which safe and
           appropriate treatment could be provided, which is a requirement for medical
           necessity determination.114

Following this rationale, the letter sets forth a clinical summary of records submitted in

conjunction with the second level appeal: 1) S.K.’s appeal letters dated October 13, 2016,

December 22, 2016, and June 28, 2017; 2) letters from G.K.’s treatment providers Briana


113
      A.R. 2386 (ellipses in original MCMC letter).
114
      A.R. 2386-87.


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Bielmeier, Dr. Robert Law, and Ke’ala Cabulagan; and 3) treatment records from Sunrise. It

also lists nine “References”—academic articles and other publications concerning adolescent

psychology and treatment—though there is no citation to or discussion of them in the denial

rationale itself115 Defendants point out in their moving papers that “notably, the UBH[/Optum]

medical necessity guidelines are not listed as materials relied on by the MCMC external appeal

reviewer.”116

            6. This Litigation

            After exhausting their appeals as required under the Plan and ERISA, Plaintiffs filed this

action on November 8, 2018, asserting individually and on behalf of G.K. two causes of

action.117 First, Plaintiffs seek recovery of Plan benefits under 29 U.S.C. § 1132(a)(1)(B),

arguing UBH and the Plan breached fiduciary duties in denying benefits for G.K.’s medically

necessary treatment at Sunrise.118 Second, Plaintiffs seek unspecified, “[a]ppropriate equitable

relief” under the Parity Act, 29 U.S.C. § 1132(a)(3).119 Here, Plaintiffs first recite generally the

Parity Act requirement that ERISA plans offer no less generous coverage for treatment of mental

health and substance use disorders than they provide for treatment of medical/surgical disorders,

and its prohibition on ERISA plans from imposing treatment limitations on mental health or

substance use disorder benefits that are more restrictive than treatment limitations.120




115
      A.R. 2387-92.
116
      Dkt. 73, Defendants’ MSJ, at 17 at ¶ 57 (citing A.R. 2391-92).
117
      Dkt. 2, Complaint.
118
      Id. at ¶¶ 39-42.
119
      Id. at 13, Claim for Relief.
120
      Id. at ¶¶ 44-45.


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           In April 2019, Defendants filed a Motion to Dismiss Plaintiffs’ Parity Act claim in its

entirety, and Plaintiffs’ individual claims on the grounds that they lack standing to bring them.121

The motion was granted only to the extent that R. K.’s individual claims were dismissed. The

remainder of the motion was denied.122

           After engaging in discovery, the parties filed cross-motions for summary judgment in

July 2022.123 After briefing was complete, the court heard oral argument on May 9, 2023.

           In their Motion, Plaintiffs first ask the court to find Defendants’ denial of Plan benefits

for G.K.’s residential treatment was incorrect, under either a de novo or arbitrary and capricious

standard of review. Second, Plaintiffs ask the court to find the Defendants committed “as-

applied” Parity Act violations in three ways: 1) requiring G.K. to have acute symptoms to qualify

for residential treatment when sub-acute issues are sufficient for coverage for the Plan’s

analogous medical/surgical care, skilled nursing centers and inpatient rehabilitation; 2) because

Defendants apply a criteria to mental health coverage beyond the Plan terms (the Optum

guidelines) where they don’t apply criteria beyond Plan terms in determining medical/surgical

coverage; and 3) because a specific Optum guideline requiring “acute changes in the member’s

signs and symptoms” before admission but require a stable condition for analogous

medical/surgical care. Finally, Plaintiffs ask the court to reverse the Defendants’ coverage

denials, award G.K. benefits, and permit them to file an additional brief concerning their

entitlement to attorneys’ fees, costs, and prejudgment interest.

           Defendants argue in their own Motion that Plaintiffs’ claims for benefits and under the

Parity Act fail as a matter of law. In large part, their arguments rests on the theory that because


121
      Dkt. 20.
122
      Dkt. 43, Order Following Oral Ruling.
123
      Dkts. 71 and 73.


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the Plan charged external reviewer MCMC with handling the second level appeal, UBH is

simply not a proper Defendant in this ERISA matter because it did not exercise “final”

discretionary authority over the benefits determination for G.K.124 Thus, Defendants argue, they

are neither a fiduciary under ERISA nor a proper Defendant at all. And, continuing with this

theme, because MCMC was the last to review coverage, the explanations and conclusions in

UBH’s preceding retrospective review and first level appeal denials are immaterial, because they

could not be the proximate cause of any harm from a wrongful benefits denial or Parity Act

violation. UBH also argues MCMC’s benefits denial should be affirmed under the arbitrary and

capricious standard of review (and that UBH’s should too, if they are reviewed), and that

Plaintiffs’ Parity Act claim fails for lack of evidence and because MCMC did not rely on the

allegedly problematic Optum guidelines in its second level review.125

            On May 15, 2023, Plaintiffs provided the court with supplemental authority126—a case

from the Tenth Circuit decided that day, D.K. et al., v. United Behavioral Health, et al.127 In

D.K., as here, UBH was the claims administrator for mental health benefits that were denied to

the plan’s minor beneficiary for residential treatment—both by UBH on repeated review and

appeals, and finally by an external reviewer.128 UBH had paid for only a short period of

residential care, but denied coverage for continued care. The external reviewer upheld the

denials on the basis “it was not medically necessary for [the minor beneficiary] to remain in

residential treatment.”129 Reviewing all denials under an arbitrary and capricious standard of


124
      Dkt. 73, Defendants’ MSJ, at 4-5.
125
      Id. at 3-5.
126
      Dkt. 95.
127
      67 F.4th 1224 (10th Cir. 2023).
128
      Id. at 1234-35.
129
      Id. at 1235.


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review, the court of appeals affirmed the district court’s rulings that: 1) “[UBH] acted arbitrarily

and capriciously”130 in the denials, and 2) the Plaintiffs should be awarded benefits outright

rather than remanding for further administrative review.131

II.         LEGAL STANDARD

            Summary judgment is appropriate if the moving party establishes “there is no genuine

issue as to any material fact” and it is “entitled to judgment as a matter of law.”132 On the

Plaintiffs’ Plan benefits claim, where both sides have moved for summary judgment, they have

effectively “stipulated that no trial is necessary and that “summary judgment is merely a vehicle

for deciding the case.”133 And in resolving this claim, “the factual determination of eligibility of

benefits is decided solely on the administrative record, and the non-moving party is not entitled

to the usual inferences in its favor.”134 In contrast, the Parity Act claim involves the legal

question of statutory interpretation. In resolving it, the court views the evidence and makes

reasonable inferences in the light more favorable to the nonmoving party.135

III.        ANALYSIS

            Below, the court evaluates the two causes of actions at issue the parties’ cross-motions

for summary judgment: 1) Plaintiffs’ claim for wrongful denial of plan benefits under ERISA for

G.K.’s residential treatment at Sunrise, and 2) a claim for violation of the Parity Act. But first,


130
      Id. at 1237.
131
   Id. at 1228 (finding no abuse of discretion in in declining to remand in view of the “administrator’s clear and
repeated procedural errors in denying this claim,” where “provid[ing] an additional ‘bite at the apple’ would “be
contrary to ERISA fiduciary principles . . . .”).
132
      FED. R. CIV. P. 56(a).
133
  LaAsmar v. Phelps Dodge Corp. Life, Accidental Death & Dismemberment & Dependent Life Ins. Plan, 605 F.3d
789, 796 (10th Cir. 2010) (citation omitted).
134
      Id. (citation omitted).
135
      Theo M. v. Beacon Health Options, 631 F.Supp.3d 1087, 1100 (D.Utah 2022) (citations omitted).



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the court addresses issues underlying some of Defendants’ arguments: 1) whether UBH owes

fiduciary duties under ERISA and is thus a proper Defendant, and 2) whether MCMC’s second

level appeal determination renders an evaluation of UBH’s preceding denials immaterial.

         As discussed below, UBH is an ERISA fiduciary under the Tenth Circuit’s ‘functional

fiduciary’ standard, and Defendants’ arguments to the contrary are meritless. Second, MCMC’s

final appeal determination does not render immaterial an evaluation of UBH’s own denials in

relation to both the claims for benefits and under the Parity Act. Third, the Defendants’ blanket

denials of coverage for G.K.’s care are arbitrary and capricious and are reversed. Fourth,

Defendants committed an ‘as-applied’ violation of the Parity Act when they required G.K. to

have an acute condition—be dangerously suicidal—as a prerequisite to receive sub-acute

residential treatment care under the Plan. Finally, Plaintiffs are invited to submit briefing on

Parity Act remedies, attorneys’ fees, and costs.

      A. UBH is an ERISA Fiduciary and a Proper Defendant

         UBH argues it is entitled to summary judgment on all claims because it did not act as an

ERISA fiduciary regarding Plaintiffs’ benefits claim and is therefore not a proper Defendant. As

discussed below, the court disagrees.

         “There are two types of ERISA fiduciaries: named fiduciaries and functional

fiduciaries.”136 Though EMC was expressly named the Plan’s Administrator, Plaintiffs allege

UBH was a functional fiduciary under the terms of 29 U.S.C. § 1002(21)(A), which provides that

“a person is a fiduciary with respect to a plan to the extent (i) he exercises any discretionary

authority or discretionary control respecting management of such plan or exercises any authority




136
  Lebahn v. National Farmers Union Unform Pension Plan, 828 F.3d 1180, 1184 (10th Cir. 2016) (citing 29
U.S.C. § 1102(a) (named fiduciaries) and 29 U.S.C. § 1002(21)(A) (functional fiduciaries)).


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or control respecting management or disposition of its assets, . . . or (iii) he has any discretionary

authority or discretionary responsibility in the administration of such plan.” Applying this

provision, the Tenth Circuit has explained that “regardless of status or title, parties are only plan

fiduciaries to the extent they are performing functions identified in the definition.”137

            Plaintiffs argue UBH functioned as a fiduciary regarding their coverage claim because

UBH handled and had the discretion and authority to review and determine behavioral health

coverage claims under the Plan, and any decision it made to grant coverage would have been

final and resulted in payment.138 And, though not explicitly engaged in a functional fiduciary

analysis as the parties didn’t seem to dispute that United was the plan administrator, the Tenth

Circuit in D.K. v. United Behavioral Health noted the fiduciary duties inherent in claim

determinations:

            Administrators, like United, are analogous to trustees of common-law trusts and
            their benefit determinations constitute fiduciary acts. That is, in determining
            benefit eligibility, “the administrator owes a special duty of loyalty to the plan
            beneficiaries.”139

The court also observes that in the many ERISA mental health benefits cases it has surveyed,

there is no case evaluating, let alone concluding, that a designated claims administrator in UBH’s

position is not a functional fiduciary.

            And Defendants do not dispute that benefit determinations involve discretionary,

fiduciary actions. But they argue UBH was not an ERISA fiduciary and thus not a proper

Defendant for two reasons. First, they suggest it is dispositive that UBH lacked “final




137
      David P. Coldesina, D.D.S. v. Estate of Simper, 407 F.3d 1126, 1132 (10th Cir. 2005) (citations omitted).
138
      Dkt. 84, Plaintiffs’ Opp., at 8.
139
      D.K., 67 F.4th at 1236 (quoting Metropolitan Life Ins. Co. v. Glenn, 554 U.S. 105, 111 (2008)).


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discretionary authority over disposition of assets of the Plan (i.e., payment of Plan benefits),”140

where the Plan hired an external reviewer (MCMC) to conduct the final, second level appeal.

Second, Defendants argue UBH’s role with regard to the Plan “is merely administrative” where

one part of the Plan states “‘medical vendors’ (such as UBH) ‘provide administrative services to

the self-insured portion of the plan, and ‘while these vendors provide claims payment and other

administrative services. . . they do not assume any financial risk or obligation with respect to

claims or the plan.’”141 Thus, they argue UBH “is not a proper party defendant in this action

alleging violation of ERISA.”142 Taking up the arguments in reverse order, the court disagrees.

            Under the Tenth Circuit’s functional analysis for determining ERISA fiduciaries, the

record establishes UBH’s fiduciary role in administering and deciding Plaintiffs’ entitlement to

Plan benefits for G.K.’s care. First, though EMC was the named ‘Plan Administrator,’ Plan

documents expressly charged UBH with administrative and discretionary functions regarding

behavioral health claims like Plaintiffs’. And, as noted above, the Plan charged UBH with

behavioral health claims administration, including conducting initial coverage determinations,

first level, and final urgent appeals under the Plan. UBH performed these functions as a claims

administrator, engaging in discretionary decisions regarding the Plaintiffs’ claim for coverage,

including by its own employed physicians and medical directors. It is the handling of these

discretionary functions—the investigation, evaluation, and communicated rationales in UBH’s

coverage denials—that underlies Plaintiffs’ causes of action against UBH in this matter.

            Still, UBH argues it was “merely” engaged in ministerial administrative acts by pointing

to another part of the Plan identifying UBH in a list of nearly a dozen self-insured medical


140
      Dkt. 73, Defendants’ MSJ, at 39.
141
      Id. at 40 (quoting A.R. 2503).
142
      Id. at 39.


                                                   31
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vendors “who provide claims payment and other administrative services under an administrative

services contract with EMC, but they do not assume any financial risk or obligation with respect

to claims or the plan.”143 It is true that an ERISA actor may avoid fiduciary liability for acts that

it can establish are simply ministerial—“such as clerical services.”144 But UBH has not even

attempted to establish that the complained-of actions regarding Plaintiffs’ claims determinations

were merely ministerial, and they cite no case supporting that proposition—nor could they.

           It is almost certainly true that in addition to discretionary coverage claims investigated

and determined by UBH, UBH employees also engaged in ministerial acts for which they may

not be an ERISA fiduciary. But the fact that UBH may “wear two hats”—engage in fiduciary

claims determinations and also handle ministerial clerical-type work (though not specifically

established in the briefing)—does not alter the fact that it is a fiduciary “to the extent” it acts in a

fiduciary role.145 “ERISA does require, however, that the fiduciary with two hats wear only one

at a time, and wear the fiduciary hat when making fiduciary decisions.”146 Here, whatever

ministerial role it may have additionally played, UBH functioned as the Plan’s designated mental

health claims administrator, and made discretionary coverage decisions at multiple levels. Those

are the fiduciary decisions about which Plaintiffs complain.



143
      A.R. at 2503.
144
      David P. Coldesina, 407 F.3d at 1132.
145
   In re Luna, 406 F.3d 1192, 1207 (10th Cir. 2005) (citations omitted). In Luna, the Tenth Circuit found
employers who failed to make regular employee contributions to ERISA-covered benefit plan were not ERISA
fiduciaries. The court found the employers did not exercise authority or control concerning management or
disposition of assets, including because the act of failing to make a contribution in a time of economic hardship: 1)
did not concern the real asset in question, the trustees’ right to collect unpaid contributions, and 2) even if the asset
were the unpaid contributions themselves, failure to pay them does not amount to a commonly understood
management decision such as “‘selecting investments, exchanging one instrument or asset for another, and so on.’”
406 F.3d at 1204 (quoting Harris Trust & Savings Bank v. John Hancock Mutual Life Insurance Company, 302 F.3d
18, 28 (2d Cir. 2002) (other citations omitted)). In contrast, a claims evaluation involves evaluation and decision-
making at a fiduciary level, as the Tenth Circuit recognized in D K. v. United Behavioral Health, cited above.
146
      Pegram v. Hedrich, 406 F.3d 211, 225 (citations omitted).


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           UBH also argues it cannot be a fiduciary under ERISA because it did not issue the final,

second level appeal decision, stating “[t]he functional fiduciary act at issue here is the final

second-level determination which left Plaintiffs without any further recourse under the Plan.”147

UBH suggests that because it did not exercise “final discretionary authority over disposition” of

Plan assets—“i.e., payment of Plan benefits”—it cannot be a fiduciary. The court disagrees.

           First, under § 1002(21)(A), UBH is a fiduciary “to the extent” it exercised “any”

discretionary authority or control respecting Plan management, exercised “any” authority or

control respecting management or disposition of Plan assets, or had “any” discretionary authority

or responsibility Plan administration. Though UBH would rewrite the statute to require the

exercise of any fiduciary authority or control be “any final” exercise of authority or control—this

is not what § 1002 expressly requires.

           And UBH’s reliance on the Tenth Circuit cases of Geddes v. United Staffing Alliance

Employee Medical Plan148 is misplaced. UBH cites Geddes for the proposition that it is not a

fiduciary, contending that the court of appeals “affirmed that the third-party claims entity that

denied plaintiffs’ claims for benefits was not a fiduciary of the plan, but rather, it acted as an

agent to the fiduciary. . . .”149 That is a misleading summary.

           In Geddes, the Tenth Circuit considered the issue of whether a de novo or arbitrary and

capricious standard of review applied to a coverage denial when a Plan names an “administrator

and fiduciary” but also provides that the fiduciary will engage “an independent third party” to

review claims and administer benefits.150 As discussed in more detail below in determining the



147
      Dkt. 88, Defendants’ Reply, at 10 (emphasis in Defendants’ briefing).
148
      469 F.3d 919 (10th Cir. 2006).
149
      Dkt. 88, Defendants’ Reply, at 10 (emphasis in Defendants’ briefing).
150
      469 F.3d at 922.


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applicable standard of review, ERISA denials are evaluated de novo “unless the benefit plan

gives the administrator or fiduciary discretionary authority to construe the terms of the plan.”151

Though the plan gave the administrator and fiduciary authority to hire independent third parties,

it also “[i]importantly, . . explicitly reserve[d] . . . the right to make all final decisions about

benefits paid under its terms, as well as the authority to interpret disputed Plan provisions.”152

            The district court had concluded the independent third party who reviewed the Plaintiffs’

claim was not a fiduciary, and that in delegating claims review to a non-fiduciary, the plan

administrator “effectively did nothing” to exercise discretion, “thereby forfeiting its claim to

deferential review.”153 The court of appeals reversed, holding “a fiduciary’s decision to delegate

part of its . . . authority to an independent claims administrator” does not trigger de novo

review154 where such partial delegation is permitted under analogous trust law, and the for

purposes of liability, the decisions of the independent third parties, acting “only as agents of the

fiduciary,” amount to decisions made by the administrator.155

            But in reversing the district court, the Geddes Court expressly stated it was not evaluating

whether the third-party reviewer was, or was not, a fiduciary, because the parties on appeal

simply did not dispute the district court’s finding that it was not. Where the parties did not

contest the finding, there was “no reason to revisit that conclusion,” because finding the third-

party claims administrator to be a fiduciary would not change—but would only buttress—its

conclusion that the more deferential standard of review applied.156


151
      Id. at 923 (citing Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989)).
152
      Id. at 922.
153
      Id. at 924.
154
      Id. at 921.
155
      Id. at 927.
156
      469 F.3d at 937 n.1.


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            Thus, the Geddes Court did not evaluate when functional ERISA fiduciary status attaches

to entities other than the named administrator, including where, as here, the Plan terms expressly

give UBH as claims administrator discretion to interpret the Plan terms, render initial and appeal

determinations, apply its own guidelines, and administer claims.

            Indeed, in an even more recent case where UBH was, as here, not the named Plan

Administrator but the designated claims administrator for mental health claims, the Tenth Circuit

affirmed the district court’s finding that subsequent external reviews of various coverage

determinations could not “correct the deficiencies in UBH’s claims processing.”157 In David P.

v. United Healthcare Insurance Company, the Plan Administrator delegated “discretion to decide

benefits to designated claims administrators, including Defendant United Healthcare Insurance

Company,” who “administered the Plan’s mental health/substance abuse benefits through its

affiliate, United Behavioral Health (UBH).”158 UBH denied coverage for nearly all of a

beneficiary’s stays at two residential treatment centers, and those denials were upheld on external

review. The district court reversed UBH’s denials and awarded benefits, finding UBH’s claims

determinations deficient under an arbitrary and capricious standard of review.159 In so doing, the

district court declined to consider the external reviewers’ evaluations that the RTC care was not

medically necessary.160

            Before the district court, Defendants had argued the external review “constitutes

substantial evidence showing that UBH’s final adverse benefit determinations were not arbitrary




157
      David P. v. United Healthcare Ins. Co., 77 F.4th 1293, 1309 (10th Cir. 2023).
158
      Id. at 1301.
159
      Id. at 1303.
160
      Id. at 1314.


                                                           35
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and capricious.”161 Surveying decisions from sister courts referencing external reviewer reports,

the district court found no clear basis to do so, noting “[w]hile it is true that an external

reviewer’s approval of the plan administrator’s benefits determination can provide some indicia

that the administrator’s determination was reasonable, the administrator’s determination must

stand on its own.”162 Thus, as here, “[r]ationales and factual evidence later cited by internal

reviewers cannot salvage deficient rationales or findings of fact provides by UBH.”163 Thus,

while the district court considered the entire record, it “prioritized the rationales laid out in

UBH’s five denial letters in ruling that UBH’s determination was arbitrary and capricious.”164

            The court of appeals found no fault in this course of action, noting that the district court

focused on and reversed UBH’s denials, and found that the external reviewers could not “cure

UBH’s deficient claims processing.”165 Thus, though UBH argued the court should consider the

external reviewers’ medical necessity reasoning to buttress the rationales for its prior denials, the

court of appeals declined, finding “UBH’s argument fails in light of the deficiencies in its claims

processing, which we have already identified. The external reviews here, then do not preclude

reversing UBH’s denial of benefits.”166

            For these reasons, UBH’s argument that MCMC’s external review entirely absolves it of

potential ERISA liability for its claims determinations and Parity Act violations fails. Rather, the




161
   David P. v. United Healthcare Ins. Co., 564 F.Supp.3d 1100, 1121 (D.Utah 2021), aff’d in part, vacated in part,
rev’d in part, 77 F.4th 1293.
162
      Id. at 1122.
163
      Id.
164
      Id.
165
      David P., 77 F.4th at 1314.
166
   Id. The court of appeals went on, however, to reverse the district court’s decision awarding benefits outright. The
court of appeals found that under the facts of the case, remand was more appropriate, especially where the court
could not “say that the ‘record clearly shows’” the plaintiffs were, or were not, entitled to benefits. Id. at 1315.


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court agrees with Plaintiffs that UBH is a functional fiduciary “to the extent” it engaged in the

coverage determination as a designated claims administrator under the Plan, and it does not

matter that the second level appeal was submitted to an independent third party hired by the Plan.

If UBH had approved G.K.s benefits claims, “either upon initial review . . . or after the first-level

appeal, its decision would have been final and Plaintiffs would have been paid.”167 Likewise, if

UBH violated the Parity Act and the violation led to a claim denial which might otherwise have

been paid if in compliance, G.K.’s claims “would never have made it to MCMC in the first

place.”168 The court concludes UBH is clearly an ERISA fiduciary, and is a proper party with

regard to both of Plaintiffs’ claims.

       B. The Plan Benefits Denials were Arbitrary and Capricious

            ERISA allows plan participants and beneficiaries, like Plaintiffs, to seek judicial review

of an administrative denial of health benefits under 29 U.S.C. § 1132(a)(1)(B). This analysis

typically requires first identifying the proper standard of review.

       1. Standard of Review

            ERISA “does not specify the standard of review that courts should apply” in reviewing a

benefits denial.169 But the Supreme Court instructs that “a denial of benefits challenged under §

1132(a)(1)(B) is to be reviewed under a de novo standard unless the benefit plan gives the

administrator or fiduciary discretionary authority to determine eligibility for benefits or to




167
      Dkt. 84, Plaintiffs’ Opp., at 8.
168
   Id. at 24. At page 33 of their Motion for Summary Judgment (Dkt. 73), Defendants contend Plaintiffs’ Parity Act
claim fails where UBH’s denials allegedly violating that Act were not “final.” Defendants argue “Plaintiffs are not
entitled to any equitable relief . . . because they have not alleged and cannot show that the alleged Parity Act
violation proximately caused them any injury – particularly where, as here, the final adverse appeal determination
on their benefit claim was made by MCMC, not UBH, and MCMC did not refer to or rely on the allegedly improper
UBH guidelines in rendering that final appeal determination.”
169
      Rasenack ex rel. Tribolet v. AIG Life Ins. Co., 585 F. 3d 1311, 1315 (10th Cir. 2009).


                                                            37
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construe the terms of the plan.”170 Where such discretion is granted, the court applies a more

deferential standard of review, “asking only whether the denial of benefits was arbitrary and

capricious.”171 This “judicial deference to ERISA plan administrators is premised on their

fiduciary roles,”172 as “ERISA requires fiduciaries to ‘discharge [their] duties with respect to a

plan solely in the interest of the participants and beneficiaries.’”173

            The party arguing for the more deferential standard of review bears the burden of

establishing its applicability.174 Here, that is UBH. And the court is persuaded that this standard

seems at least initially appropriate, where the Plan has delegated to UBH the role of claims

administrator for behavioral health benefits,175 including the direct determination of first level

pre-service and post-service appeals for these benefits.176

            But Plaintiffs contend Defendants are nonetheless not entitled to the more deferential

standard of review, because the denial letters in this case show they have breached ERISA

regulations. Where there are “serious procedural irregularities” in contravention of ERISA

regulations, the court applies “de novo review where deferential review would otherwise be

required.”177 Plaintiffs claim the denial letters breach ERISA regulations because they lacked

meaningful engagement with the opinions of G.K’s treating professionals;178 were “conclusory,



170
      Firestone Tire & Rubber Co., 489 U.S. at 115.
171
      LaAsmar, 605 F.3d at 796.
172
      D.K., 67 F.4th at 1243 (citing Varity Corp. v. Howe, 516 U.S. 489, 506 (1996)).
173
      Id. (quoting 29 U.S.C. § 1104).
174
      LaAsmar, 605 F.3d at 796.
175
   A.R. 2503 (identifying UBH as the only entity providing claims administration for the Plan’s behavioral health
benefits)
176
      A.R. 137-38.
177
      Martinez v. Plumbers & Pipefitters Nat’l Pension Plan, 795 F.3d 1211, 1215 (10th Cir. 2015).
178
      Dkt. 71, Plaintiffs’ MSJ, at 25.


                                                            38
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threadbare, and [failed to] . . . engage” with G.K.’s own representations as to “her own mental

health status;” and did not “reflect a reasoned application of the Plan’s language to the

information [they] had about G.K.’s medical history.”179

            Indeed, certain ERISA regulations provide that a Plan administrator improperly exercises

its discretion if it denies benefits without complying with statutory procedural requirements.180

These regulations require the administrator to provide notice to claimants of “any adverse benefit

determination,” and such notice must “set forth, in a manner calculated to be understood by the

claimant—”

            (i) The specific reason or reasons for the adverse determination;

            (ii) Reference to the specific plan provisions on which the determination is based;

                                                 ***
            (v) In the case of an adverse benefit determination by a group health plan. . .

                     (B) If the adverse benefit determination is based on a medical necessity. . .
                     either an explanation of the scientific or clinical judgment for the
                     determination, applying the terms of the plan to the claimant's medical
                     circumstances, or a statement that such explanation will be provided free
                     of charge upon request.181

Further, ERISA regulations afford claimants a “full and fair review” when they appeal adverse

benefit determinations.182 A full and fair review “takes into account all comments, documents,

records and other information submitted by the claimant relating to the claim.”183

            If the breaches Plaintiffs identify are “serious procedural irregularities” then de novo

review would apply. But de minimis violations in the claims process occurring “in the context of


179
      Id. at 26.
180
      See 29 C.F.R. § 2590.715-2719(b)(2)(F)(1).
181
      29 C.F.R. § 2560.503-1(g).
182
      29 C.F.R. § 2560.503-1(h)(2).
183
      Id. § 2560.503-1(h)(2)(iv).


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an ongoing, good faith exchange of information between the plan and the claimant” will not

trigger de novo review.184 What constitutes a de minimis procedural violation under present

ERISA regulations is an open question within the Tenth Circuit.185 Under a prior version of

ERISA, the court of appeal held de novo review applied only if the administrator did not

“substantially comply with ERISA regulations” in the benefit-determination process.186 That

court has yet to decide whether the substantial compliance rule still applies under the amended

ERISA regulations, allowing only de minimis procedural violations.187

           This issue remains unresolved following recent Tenth Circuit rulings. In D.K. v. United

Behavioral Health, the court of appeals stated it would apply the more deferential arbitrary and

capricious standard of review “[b]ecause [UBH] had ‘discretionary authority to determine

eligibility for benefits or to construe the terms of the plan. . . ’”188 It did not decide if UBH’s

alleged breaches would affect the standard of review—the plaintiffs seemingly did not argue for

application of a de novo standard of review on appeal. Thus, although the court of appeals

recognized UBH’s breaches in that case (failures to sufficiently engage in a “meaningful

dialogue” with the opinions of claimant’s treating professionals and to apply plan terms to the

claimant’s medical records) also amounted to breaches of ERISA regulations,189 it did not

discuss how those breaches affect the standard of review.


184
      29 C.F.R. § 2590.715-2719(b)(2)(F)(2).
185
   LaAsmar, 605 F.3d at 800 n.7 (“[W]e left open the question of whether the ‘substantial compliance’ rule remains
applicable under the revised 2002 ERISA regulations.”).
186
      See Hancock v. Metro. Life Ins. Co., 590 F.3d 1141, 1152 (10th Cir. 2009).
187
   See id. at 1152 n.3 (“Because Ms. Hancock has failed to show any noncompliance, we need not consider whether
substantial compliance is sufficient under the January 2002 revisions of ERISA.”); Kellogg v. Metro. Life Ins. Co.,
549 F.3d 818, 827–28 (10th Cir. 2008); see also LaAsmar, 605 F.3d at 800.
188
      D.K., 67 F.4th at 1235 (quoting Firestone Tire & Rubber, 489 U.S. at 115).
189
   D.K., 67 F.4th at 1239 (citing 29 C.F.R. § 2560.503-1(h)(3), (4) and *13 29 C.F.R. § 2650.503-1(h)(2)(iv)), and
1243 (noting we hold [UBH] acted arbitrarily and capriciously in not engaging with the medical opinions of . . .
treating professionals. . . .”).


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            Likewise, in Easter v. Hartford Life and Accident Insurance Company, the Tenth Circuit

noted that it had not yet “extended the procedural-irregularity exception beyond two limited

scenarios—viz., where a claim administrator either did not issue a decision or issued a

substantially late appeal,” but determined the case before it did not require deciding “whether the

exception could extend to other scenarios.”190 No procedural irregularities in the claims process

warranted any exception—indeed, the court of appeals affirmed the denial of coverage under the

arbitrary and capricious standard of review.191

            Plaintiffs here allege violations akin to those in D.K. But where the Tenth Circuit has not

had occasion to rule on the issue, and because the Defendants’ denials were improper even under

the more deferential arbitrary and capricious standard of review, it is unnecessary to determine if

the alleged breaches might amount to procedural irregularities warranting de novo review.192

       2. The Plan Benefits Denials were Arbitrary and Capricious

            “ERISA sets minimum standards for employer-sponsored health plans, which may be

administered by a separate entity.”193 “Under arbitrary and capricious review, the actions of

ERISA administrators are upheld if reasonable and supported by substantial evidence.”194



190
      2023 WL 3994383 (10th Cir. June 14, 2023) at *5.
191
      Id. at *4.
192
   See also James C. v. Aetna Health and Life Ins. Co., 499 F.Supp.3d 1105, 1117 (finding de novo review
unwarranted though Plaintiffs alleged Defendants breached ERISA regulations by failing to engage with medical
records or “provide the particular provision on which it based its denials.”) In James C., Judge Barlow explained:
            Under Tenth Circuit precedent, de novo review is appropriate despite a plan's conferral of
            discretion on a plan administrator if: the administrator fails to exercise discretion within the
            required timeframe; the administrator fails to apply its expertise to a particular decision; the case
            involves serious procedural irregularities; the case involves procedural irregularities in the
            administrative review process; or where the plan members lack notice of the conferral of
            administrator discretion over the plan.
499 F.Supp.3d at 116-17 (quotation marks and citations omitted).
193
      D.K., 67 F.4th at 1236 (citing 29 U.S.C. § 1001).
194
      Id. at 1235 (citing Adamson v. Unum Life Ins. Co. of Am., 455 F.3d 1209, 1212 (10th Cir. 2006)).


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Substantial evidence “mean[s] more than a scintilla of evidence that a reasonable mind could

accept as sufficient to support a conclusion.”195 The court reviews the record as a whole to

determine whether substantial evidence exists to support the rationale for denial, accounting for

all record facts, including those detracting from the administrator’s decision.196

            A plan administrator “has a fiduciary duty to the insured to conduct an investigation and

to seek out the information necessary for a fair and accurate assessment of the claim.”197 As

noted above,“[a]dministrators, like [UBH], are analogous to trustees of common-law trusts and

their benefit determinations constitute fiduciary acts.”198 In making benefits determinations, an

“administrator owes a special duty of loyalty to the plan beneficiaries,” and must interpret the

plan reasonably and in good faith.199

            Administrators must also “follow specific procedures for denials.”200 Denials must be in

writing and “set forth the specific reasons for such denial,” and “afford a reasonable opportunity

for a full and fair review by the appropriate named fiduciary of the decision denying the

claim.”201 Recall that ERISA regulations require denials to refer to “the specific plan provisions

on which the determination is based,” and if the denial is based on a lack of medical necessity,

“either an explanation of the scientific or clinical judgment for the determination, applying the




195
  Eugene S. v. Horizon Blue Cross Blue Shield of N.J., 663 F.3d 1124, 1134 (10th Cir. 2011) (citation and
quotation marks omitted).
196
      Caldwell v. Life Ins. Co. of N. Am., 287 F.3d 1276, 1282 (10th Cir. 2002).
197
      Rasenack,585 F.3d at 1324 (citations omitted).
198
      D.K., 67 F.4th at 1236 (citations omitted).
199
      David P., 77 F.4th at 1299, 1308 (citations omitted).
200
      D.K., 67 F.4th at 1236 (citations omitted).
201
      Id. (citing 29 U.S.C.§ 1133).


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terms of the plan to the claimant's medical circumstances, or a statement that such explanation

will be provided free of charge upon request.”202

            Review of a denial under the arbitrary and capricious standard “considers if it ‘(1) was

the result of a reasoned and principled process, (2) is consistent with any prior interpretations by

the plan administrator, (3) is reasonable in light of any external standards, and (4) is consistent

with the purposes of the plan.’”203 An administrator arbitrarily and capriciously fails to be

“consistent with the purposes of the plan” if it does not “‘consistently apply’” plan terms or

“provides an interpretation inconsistent with” plan’s plain language.204

            For a “full and fair” review, claimants must know “what evidence the decision-maker

relied upon,” have “an opportunity to address the accuracy and reliability of the evidence, [and]

hav[e] the decision-maker consider the evidence presented by both parties prior to reaching and

rendering his decision.”205 As the Tenth Circuit has explained, “[i]n referring to a claimant's

medical records, administrator statements may not be conclusory and any health conclusions

must be backed up with reasoning and citations to the record.”206 And while there is no general

requirement that a claims administrator defer to the opinions of the claimant’s treating

physicians, they may not “arbitrarily refuse to credit such opinions if they constitute reliable




202
      29 C.F.R. § 2560.503-1(g).
203
  D.K., 67 F.4th at 1236 (quoting Flinders v. Workforce Stabilization Plan of Phillips Petrol. Co., 491 F.3d 1180,
1193 (10th Cir. 2007)).
204
      Id. (quoting Tracy O. v. Anthem Blue Cross Life, 807 F. App'x 845, 854 (10th Cir. 2020)).
205
      D.K., 67 F.4th at 1236 (citations omitted).
206
      Id. at 1242 (citing McMillan v. AT&T UmbrellaBenefit Plan No. 1, 746 F. App'x 697, 705-06 (10th Cir.
2018)).


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evidence from the claimant.”207 Put another way, “reviewers ‘cannot shut their eyes to readily

available information ... [that may] confirm the beneficiary's theory of entitlement.’”208

            Under these standards, Plaintiffs argue Defendants’ coverage denials on retrospective

review and the first and second level appeals were arbitrary and capricious because they 1) rest

on “conclusory statements without factual support;”209 and 2) credit evidence supporting the

denials—primarily G.K.’s own initial representations in April 2016 at Sunrise that she was doing

better—while ignoring or failing to meaningfully grapple with substantial contrary evidence

showing that G.K.’s care was “medically necessary’ as defined in the Plan, including the

opinions of treating providers at both Sunrise and Northwest Passage, G.K.’s own statements

beginning in May 2016, and G.K.’s history of depression, suicidal thoughts and actions, and

masking her serious mental health issues.210

             Defendants respond that UBH’s denials were all based on substantial evidence, and thus

not arbitrary and capricious.211 Defendants argue the fact that UBH reviewers and the external

reviewer (MCMC) all agreed the treatment was not medically necessary amounts to substantial

evidence supporting UBH’s denials.212 And, Defendants contend, MCMC’s final review

“reasonably determined” G.K.’s residential treatment level of care was not “medically




207
      Id. at 1237 (quoting Black & Decker Disability Plan v. Nord, 538 U.S. 822, 831, 834 (2003)).
208
      Id. (quoting Gaither v. Aetna Life Ins. Co., 394 F.3d 792, 807 (10th Cir. 2004)).
209
   Dkt. 71, Plaintiffs’ MSJ, at 33 (quoting Raymond M. v. Beacon Health Options, Inc., 436 F.Supp. 3d 1250, 1266
(D.Utah 2020)).
210
      Id. at 27-34.
211
      Dkt. 83, Defendants’ Opp., at 29.
212
   Id. at 29-30 (noting “where, as here, multiple internal reviewers and the external review agent that rendered the
final review of Plaintiffs’ second-level appeal each determined that the treatment at issue was not medically
necessary . . .those determinations constitute substantial evidence that the adverse benefit determination is correct
under either a de novo or arbitrary and capricious standard of review.”) (citations omitted).


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necessary” as the Plan defines that term,213 and (2) regardless, the care at Sunrise was not really

“24/7” RTC level of care, but was more akin to a “group home.”214

            For the reasons discussed below, the court agrees with Plaintiffs that even under the more

deferential standard of review, the Defendants’ blanket denials of Plan benefits for G.K.’s

residential treatment at Sunrise—from day one—were arbitrary and capricious.

                   a. Dr. Rosenberg’s Retrospective Review

            Dr. Rosenberg, a UBH reviewer, provided the following rationale for his retrospective

review denial of the entirety of G.K.’s treatment at Sunrise—from day one on April 7, 2016, to

her discharge in December:

            Your child was admitted for treatment of depression and anxiety. After reviewing
            the medical records, your child had made good progress and no longer needed the
            type of care provided in this setting. While your child continued to face
            challenges as she worked on his [sic] issues, your child had progressed to the
            point that she was not in immediate danger of hurting herself. Your child may
            have required support staff for these issues, however, she did not require this kind
            of structure, monitoring and clinical support found in this setting.

            This does not mean that your child could not have received further treatment.
            Instead, your child could have continued care in a mental health partial
            hospitalization.215

This entirely unspecific denial rationale lacks a basis in substantial evidence and is therefore

arbitrary and capricious.



213
      Id. at 28.
214
      Id. at 33.
215
   Dkt. 73, Defendants’ MSJ, at 13 ¶¶ 36-38 (citing A.R. 1102). Defendants also cite an internal UBH case note
they claim “documents that Dr. Rosenberg conducted a live telephone interview” with a treating provider in
conjunction with his review which revealed G.K. had been “guarded, depressed, and anxious” upon admission to
Sunrise, but improved over time, and had not “self-harmed” or endorsed suicidal ideation. Id. at 13-14 ¶ 40. Dr.
Rosenberg does not indicate in his note with whom he spoke, and neither references nor appears to rely on this
information in his retrospective review actually provided to the Plaintiffs. The case note is therefore immaterial.
See David P., 77 F.4th at 1313 (noting “a court reviewing an administrator's benefits decisions cannot consider
reasons the administrator included in its internal notes when the administrator never conveyed those reasons to the
claimant.”). But the case note’s substance does not change the court’s analysis.


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           First, it lacks any citation to Plan terms upon which it is based and reference to any

specific records—aside from the entire “medical records.” There is no clinical evaluation of

G.K. at the time of admission in April following a suicide attempt and unusually lengthy

stabilization period. Nor is there clinical discussion of her “good progress:” what this was, when

it was achieved over the eight month at Sunrise, and why it meant she “no longer needed the type

of care provided in this setting” and “partial hospitalization” would have addressed her issues.

           If the cited “good progress” was, as it seems to be, that G.K. that “not in immediate

danger of hurting herself,” as is discussed in the next sentence, this does not appear to be a valid

reason under the Plan for denying residential treatment coverage on admission or as continued

care. To the contrary, it is a requirement under the Optum Guidelines for residential care that the

member “is not in imminent or current risk of harm to self, others, and/or property.” This is the

only rationale that comes close to a specific description of G.K., and it is not a valid basis to

deny coverage.

           Confronting a similar issue in David P., the Tenth Circuit recently affirmed a finding that

UBH denials were arbitrary and capricious in part because they “seemingly contradicted UBH’s

own guidelines for when coverage was warranted. For instance, UBH denied coverage at [an

RTC] because L.P. did not want to hurt herself or others, but according to UBH’s guidelines,

treatment in an RTC can be warranted when the insured is not in imminent or current risk of

harm to self or others.”216

           The non-specific mention of “good progress” also fails to account for G.K.’s well-

understood history of masking her serious conditions—things plainly noted in the Sunrise

records—and the records from nearly two months into G.K.’s stay noting she had reported her


216
      77 F.4th at 1308.


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depression may have worsened, her anxiety persisted, she found little joy in life, and was feeling

“hopeless.”217 To ignore these records in light of G.K.’s specific history, including a relatively

suicide attempt, followed by an unusually long but eventually stabilizing hospital stay, is an

arbitrary and capricious failure.

            Dr. Rosenberg’s rationale is so generalized and non-specific to G.K. and her history it

approaches a “rubber stamp;” indeed, he mistakenly states that “she worked on his issues.” This

is insufficient. As the David P. Court recently stated in finding UBH’s denial letters did not

meet minimal ERISA requirements for explaining why residential treatment was unnecessary:

“None of UBH’s denial letters cited to any of L.P.’s records. Nor were many of the statements

UBH included in the denial letters ‘backed up with any reasoning.’”218 The same is true here.

                b. Dr. Privette’s First Level Review

            Next, UBH Associate Medical Director Dr. Melinda Privette upheld Dr. Rosenberg’s

denial.219 Citing unspecified “case notes and medical records,” she provided this rationale:

            Your child was admitted for boarding school, and for treatment of depression and
            anxiety. After reviewing the medical records, your child did not need to be in a
            24-hour mental health residential rehabilitation setting. Your child was not
            suffering from an acute behavioral health condition at this point. She was in
            control of her emotions and not acting on any negative feelings. She did well in
            school, was cooperative with chores and activities, went on extended hiking trips
            and off grounds passes and worked on anxiety, mood and relationships. Your
            child could have received individual, group and family therapy by outpatient
            providers. Your health plan provides coverage for acute behavioral care, not for
            long term custodial care. Your health plan does not allow individual services,
            such as therapy, provided in an overall uncovered service, residential care, to be
            paid for separately. If the residential service is not covered, as it is not covered in
            this case, then no parts of it are covered.220



217
      Dkt. 71, Plaintiffs’ MSJ, at 10 ¶ 38 (citing A.R. 2347, psychiatric notes (emphasis in original)).
218
      77 F.4th at 1312 at 1312 (citing D.K., 67 F.4th at 1242).
219
      Dkt. 73, Defendants’ MSJ, at 14 ¶¶42-43 (citing A.R. 1116-19).
220
      Id. at 14 ¶ 43 (citing A.R. 1116).


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Dr. Privette’s highly generalized reasoning applied to the entirety of G.K.’s progressive

treatment at Sunrise fails for the same reasons Dr. Rosenberg’s does, as does her similar

requirement that G.K. be “suffering from an acute behavioral health requirement” to warrant

coverage. Her denial is not saved by the few statements that come closer to specificity, that: 1)

G.K. had been admitted for “boarding school,” 2) G.K. had gone on hiking trips and received

“off grounds passes,” 3) the Plan covers “acute behavioral care,” not “long-term custodial care.”

            The statement G.K. was “admitted for boarding school” is specious. As Plaintiffs have

established, Sunrise is a residential treatment center licensed by the State of Utah—a licensure

distinct from “boarding school.”221 G.K. was admitted to Sunrise for residential treatment

following a suicide attempt and a month of hospitalization where she continued to express

suicidal ideation. That Sunrise offered educational services to G.K., then a minor, is both

understandable and likely mandated under Utah law.

            Judge Jenkins very recently rejected a similar rationale in denials for a minor’s residential

treatment center wherein the reviewers ignored evidence that the center was licensed by the State

of Utah, and repeatedly based denials “on the premise that [the center] was not a licensed

residential treatment center, but a boarding school that was not licensed under the plan.”222

Citing Utah statutes and regulations requiring educational services at licensed residential

treatment centers serving children or adolescents,” he concluded the center’s “provision of

legally mandated educational programs does not convert otherwise covered residential treatment

services into excluded services.”223 But he noted that even without those express requirements,




221
      Dkt. 84, Plaintiffs’ Opp., at 4.
222
      C.P. v. United Healthcare Ins. Co., 2023 WL 4108368 (D.Utah June 21, 2023).
223
      Id. at *6.


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“it would make little sense to deny benefits for residential treatment care solely because some

educational services are also available at a residential treatment facility:”

            As a threshold matter, it seems beyond challenge that a residential treatment
            facility for adolescents would also have to include some educational component.
            These are young people ages 12-18 years old—middle and high school students—
            who have sought out help to address their mental health and/or substance abuse
            afflictions. How could it ever be appropriate for a facility like that to ignore the
            young person's educational development? And, if so, for how long? Some
            residents stay for a matter of days, others for months, some for more than a year.
            Should the residential treatment facility simply avoid providing educational
            services altogether, limit the services it provides, or attempt to mimic a “normal”
            educational curriculum as best it can? These are interesting questions. These
            young people—dealing as they are with serious mental health issues—should not
            be expected to fall further behind in their academic and intellectual development
            while seeking the medical help they need.224

            Dr. Privette also recites in her denial that G.K. went on hiking trips and enjoyed off-

grounds passes. She does not offer any citation in the records for these trips, including when

they occurred or how long they lasted. More important, there is no clinical explanation why

going hiking or enjoying a pass to visit family is contradictory to residential care rather than part

of a normal progression to an eventual return to life at home. Indeed, as Plaintiffs note, part of

G.K.’s May 7, 2016, Sunrise Master Plan for treatment of anxiety included participation in

recreation activities with “authoritative guidance” from staff;225 and that her parents’ work on

unhealthy patterns and G.K.’s reactions would involve the parents’ participation in “social calls,”

weekend visits, and weekly therapy.226 And it defies logic to think that residential care would

not include off grounds activities and passes at appropriate times as part of care, both as a

therapy but also to introduce a patient back to the environment to which they will eventually

return. If it does, there is no clinical explanation of this other than conclusory statements.


224
      Id. at *7.
225
      Dkt. 84, Plaintiffs’ Opp., at 11 (citing A.R. 946-49).
226
      Id. at 12 (citing A.R. 949).


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           Dr. Privette notes as a final point in her denial that the Plan does not cover “long-term

custodial care.” But aside from this factual statement about coverage, there is not a single reason

provided to support the notion G.K.’s care at Sunrise was “custodial” under the Plan or the

Optum guidelines, which are not specifically cited. Indeed, this point is internally contradictory

to her other unsupported contentions that G.K. had been admitted to boarding school, or that off-

site passes somehow transformed G.K.’s care into something less intensive than residential care.

                c. MCMC’s External Second Level Appeal

           Following Dr. Privette’s denial, Plaintiffs appealed to external reviewer MCMC. As

noted above, Defendants are incorrect in arguing MCMC’s is the only review the court should

consider and that it absolves UBH of its own missteps. At the same time, it is unclear whether

the court should review the MCMC rationales at all, and if so, what weight to give them. Indeed,

while the Tenth Circuit in David P., affirmed the district court’s decision to focus only on UBH’s

earlier denials in finding the Defendants acted arbitrarily and capriciously in processing and

denying Plaintiffs’ plan benefits claim, the court does not make clear that the court must ignore

MCMC’s review. And neither side urges that course. For these reasons, and because reviewing

MCMC’s denial does change any outcome, where it too fails as arbitrary and capricious, the

court discusses MCMC’s denial.

           In conjunction with the appeal to MCMC, S.K. again provided all Sunrise medical

records as UBH had, but also provided three letters from G.K.’s treating providers: Northwest

Passage case manager Brianna Bielmeier, Northwest pediatric neuropsychologist Dr. Robert T.

Law, and Sunrise therapist Ke’ala Cabulagan.227 It bears noting that Defendants incorrectly

suggest in their briefing that “it is unclear whether therapist Cabulagan ever met or treated


227
      Dkt. 71, Plaintiffs’ MSJ, at 14-16 ¶¶ 46-49 (citing A.R. 1237-42, 2380-83).


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G.K.”228 The Sunrise records Plaintiffs provided to UBH and MCMC at every stage of the

retrospective review and appeal process make clear that Cabulagan met with G.K. at the very

start of her admission on April 8, 2016 and provided an initial report about G.K. to other staff.229

At that time, she also prepared an “Interim Treatment Plan” for G.K., noting that she comes to

Sunrise suffering from “severe depression” and anxiety following a “suicide attempt” and

treatment at Northwest Passage and a hospital.230 She notes a projected length of stay to be “7 to

9 months,” during which time G.K. will receive daily group therapy, weekly individual and

family therapy, and milieu interventions.231 Without mining the entire administrative record,

these records make clear Cabulagan was involved from day one with G.K’s treatment at Sunrise.

            All of the treating providers opined that the Sunrise residential treatment was medically

necessary. First, Bielmeier noted that G.K.’s “pattern of social anxiety and challenges with peer

interactions has contributed to [her] depression and suicidal ideation.” In view of her history and

symptoms at the time of discharge, Bielmeier opined G.K. could not “maintain in the community

or in lower levels of care” without putting her “at risk of suicidal ideation and further

isolative/avoidant behaviors.” G.K.’s clinical team recommended residential treatment at the

time she left Northwest for Sunrise, “to monitor her affect and maintain her safety,” “be

restricted from various means of harm to herself,” and “receive intensive therapeutic services in

a residential treatment facility” with a structured environment to “learn more appropriate skills to




228
      Dkt. 83, Defendants’ Opp., at 33 n.6.
229
      A.R. 1062.
230
      A.R. 1045.
231
      Id.


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manage her suicidal ideation, self-harming behaviors[,] and emotion dysregulation”—a pattern

“surrounded by anxiety, depression, and emotion dysregulation.”232

            Second, Dr. Law noted that the Northwest Passage clinical team had recommended for

G.K.: 1) medical management by a psychiatrist and 2) “support and guidance in a residential

treatment center to learn and generalize therapeutic skills.”233 Dr. Law stated that G.K.’s

“continued struggles with anxiety and depression have severely impacted her safety and

functioning in her daily life.”234 The team had “significant concern” that without these

interventions, “[G.K.’s] patterns of emotional distress will continue.”235

            Third, Sunrise therapist Cabulagan opined that G.K. needed residential care from April

through December 2016 because, given her suicidal history, her continued anxiety and lack of

desire to form relationships would have prevented “any success in returning to home or receiving

lower levels of care during the time period of treatment with Sunrise.”236

            MCMC upheld UBH’s coverage denials for G.K.’s entire term of treatment at Sunrise,

from April 7, 2016 to December 20, 2016.237 MCMC explained that this conclusion was reached

“[a]fter a review by an independent Board Certified physician of the Plan Language and clinical

records” in which the physician “determined that the dates of serviced [sic] being appealed are

not medically necessary . . .”238 The lone citation to Plan in the letter is in the following passage:

“The Plan states that ‘only medically necessary care will be approved and paid under the plan.



232
      Dkt. 71, Plaintiffs’ MSJ, at 15 ¶ 47 (citing A.R. 1238-39).
233
      Id. at 15 ¶ 48 (citing A.R. 1241-42).
234
      Id. at 15 ¶ 48 (citing A.R. 1241-42).
235
      Id.
236
      Id. at 15 ¶ 49 (citing A.R. 2381-82).
237
      Dkt. 73, Defendants’ MSJ, at 15 ¶¶ 50-51 (citing A.R. 2384, 2386).
238
      Id. ¶¶ 51 (citing A.R. 2386).


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All care is subject to review based on [sic] plan’s relevant care criteria . . . .”239 The letter then

sets forth the reviewer’s rationale for denial:

           In this case, the patient is hospitalized after a suicide attempt in January 2016. She
           has three psychiatric hospital placements from that hospitalization, prior to her
           entering the Residential Treatment Center during the dates in question. At the
           time of placement, she is not suicidal. She has improved significantly from the
           time of her initial hospitalization, though she remains requiring intensive
           treatment and is vulnerable to relapse. It is her vulnerability to relapse that is
           stressed as the basis of her requiring RTC level of care, along with her need for
           continuous in the moment counseling during this time period. However, she goes
           on several day trips and extended home passes with the family during this time
           period as well as a camping trip, which is not continuous for her need for
           continuous in the moment counseling. There is a time that she regresses in May
           2016 and has an increase in depression and worry that were she home she would
           experience suicidal ideation. There are multiple alternative placements in which
           her need for continued intensive treatment and monitoring could be achieved, less
           intensive than the RTC. It is general standard of care to treat an individual at the
           least restrictive setting in which RTC environment. She goes on passes and trips,
           so the treatment that she receives in reality is more consistent with a group home
           treatment, with access to family and to community. A group home environment,
           through state department of mental health services (which the records do not
           indicated were sought in this case) would provide significant structure, continuous
           and in the moment counseling and support and a safe environment in which to
           build around additional services. A therapeutic school, for instance, along with
           outpatient individual group, medication management and family treatment
           services. The lack of actual 24/7 care and the lack of accessing community
           educational and therapeutic services including group living services indicates she
           was not being treated in the least intensive environment in which safe and
           appropriate treatment could be provided, which is a requirement for medical
           necessity determination.240

The MCMC letter also sets forth a clinical summary of records submitted in conjunction with the

second level appeal: 1) S.K.’s appeal letters dated October 13, 2016, December 22, 2016, and

June 28, 2017; 2) the letters from G.K.’s treating providers; and 3) Sunrise records. At the end




239
      A.R. 2386 (ellipses in original MCMC letter).
240
      A.R. 2386-87.


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of the denial, MCMC cites without any elaboration nine “References”—academic articles and

other publications concerning adolescent psychology and treatment.241

           Plaintiffs contend MCMC arbitrarily and capriciously fails to articulate a principled basis

for denial, recites conclusory statements not based in fact, and fails to meaningfully grapple with

the medical records and opinions of three treating providers. The court agrees.

           It is true the MCMC denial is lengthier, sets forth in its summary more facts from the

medical records than the UBH denials, acknowledges G.K.’s suicide attempt and stabilizing

hospital stays, and at least makes oblique reference to a recommendations for residential care for

G.K., “It is her vulnerability to relapse that is stressed as the basis of her requiring RTC level of

care, along with her need for continuous in the moment counseling during this time period.”

           But the actual rationale for denial fares no better than UBH’s. And the court finds

unpersuasive Defendants’ arguments to the contrary, that: 1) MCMC correctly determined G.K.

could have received a less intensive level of care than residential treatment, which “she was not

even receiving in any event,”242 2) the reviewer “cites nine (9) References” in its decision,243 and

3) that multiple internal reviews had “independently determined that a claim for benefits is not

medically necessary.”244

           First, like the other denials, the MCMC letter fails to sufficiently cite any Plan provision

upon which it is based. It is true that recites that only “medically necessary” care is covered

under the Plan, and refers to unidentified “care criteria” under which care is reviewed. But

MCMC does not identify the “criteria” it relies on to determine what is medically necessary.


241
      A.R. 2387-92.
242
   Dkt. 73, Defendants’ Opp., at 25; see also Dkt. 88, Defendants’ Reply, at 6 (contending the record “does not
establish that G.K. was actually receiving RTC services.”).
243
      Dkt. 73, Defendants’ Opp., at 26.
244
      Dkt. 73, Defendants’ Opp., at 20-21.


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Defendants emphasize in their briefing and at oral argument that MCMC did not rely on the

Optum guidelines.245 Thus, it appears MCMC’s denial based on a finding G.K.’s care is not

“medically necessary,” is untethered to any Plan definition or criteria that might define it and is

arbitrary and capricious.

           And like the other denials, MCMC’s appears to rest in large part on the fact that G.K. was

not suicidal, particularly on admission: “At the time of placement, she is not suicidal.” But recall

this is precisely what the Plan requires—G.K. needed to “not” be “in imminent or current risk of

harm to self, others, and/or property”—to meet Optum guidelines for residential care.

           The Defendants’ consistent reliance in every denial on G.K.’s recent stabilization

following extensive care at Northwest—that she “had progressed to the point that she was not in

immediate danger of hurting herself,” “was not suffering from an acute behavioral health

condition,” and was “not suicidal” is thus arbitrary and capricious. Indeed, at oral argument, the

undersigned had the following exchange with Defendants’ counsel:

           Q. What’s the basis for the denial of the admission?

           A. The patient wasn’t suicidal and didn’t require that level of supervision.

Later, when the court raised the issue again, asking if the applicable criteria made G.K. ineligible

for residential care if she was suicidal, counsel agreed: “That’s right. That’s one of the criteria. . .

. that did not disqualify her from residential treatment.” Counsel then argued that the real

question was if could G.K. have stepped down even further.

           It is true that a lack of imminent danger to self is both a requirement for residential care

and could be a characteristic of someone who does not require residential care. But the court

reads the UBH and MCMC letters to cite lack of “acute” or “suicidal” condition to warrant


245
      Dkt. 83, Defendants’ Opp., at 14.


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residential care. The letters are short on analysis, especially UBH’s, and they are meant to

convey the grounds for denial. That rationale is included in every letter. And notably this was

the same understanding the court of appeals seemed to have in David P. when it found UBH

denials arbitrary and capricious in part because they “seemingly contradicted UBH’s own

guidelines for when coverage was warranted. For instance, UBH denied coverage at [an RTC]

because L.P. did not want to hurt herself or others, but according to UBH’s guidelines, treatment

in an RTC can be warranted when the insured is not in imminent or current risk of harm to self or

others.”246

           Next, the MCMC reviewer acknowledges G.K.’s vulnerability to relapse that might serve

as a basis for residential care, but then rejects that rationale because they find G.K isn’t truly

receiving residential treatment level care. This is because she goes on “several day trips and

extended home passes with the family during this time period as well as a camping trip, which is

not continuous [sic] for her need for continuous in the moment counseling.’” The reviewer thus

suggests Sunrise is in fact not really offering residential care but is more akin to a group home,

stating the “lack of actual 24/7 care and the lack of accessing community educational and

therapeutic services including group living services indicates she was not being treated in the

least intensive environment in which safe and appropriate treatment could be provided, which is

a requirement for medical necessity determination.” This reasoning bakes in unsupported,

conclusory statements upon the other and is thus arbitrary and capricious.

           First, as noted above, there is no rationale offered for the conclusion that going on passes

contradicts a residential level of care, or why going on passes beginning nearly two months into

her stay at Sunrise rendered G.K.’s treatment not covered from the date of admission. The


246
      77 F.4th at 1308.


                                                    56
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passes are the only discernable fact in the denial to support the statement that there is a “lack of

actual 24/7 care.” Sunrise is a state-licensed residential treatment center. While there, G.K.

engaged in the daily and weekly therapy recommended to her. G.K. was seen daily by staff and

was checked twice nightly for sleep. Part of G.K.’s Sunrise Master Plan for treatment of anxiety

included participation in recreation activities with “authoritative guidance” from staff; 247 and that

her parents’ work on unhealthy patterns and G.K.’s reactions would involve the parents’

participation in “social calls,” weekend visits, and weekly therapy.248 From MCMC’s own

clinical summary of records, MCMC understood G.K. went on her first three-day home visit at

the end of May, after she had been at Sunrise for nearly two months.249 She then had two- to

three-day home visits in June and July, and went on a two-day leadership camp at the end of

July.250 There is no indication the camp did not include Sunrise staff. There is no mention of

any off-site visits of any kind in the entire month of August. G.K. then goes on a five-day home

visit in September, a nearly two-week home pass in October, and a two-day off-campus pass the

same month.251 Other than these notations, it appears vast majority of G.K.’s treatment at Sunrise

was spent residing in their facilities. Passes are an activity contemplated in G.K.’s initial plan at

Sunrise and at least would seem a logical part of residential care.

            And MCMC cites no criteria to the contrary. Nor do they cite any criteria to illuminate

the comparison between residential treatment and “group home” level care. A conclusion that

intermittent passes meant G.K. was receiving—and thus necessarily only needed—group home



247
      Dkt. 84, Plaintiffs’ Opp., at 11 (citing A.R. 946-49).
248
      Id. at 12 (citing A.R. 949).
249
      A.R. 2390.
250
      A.R. 2390-91.
251
      A.R. at 2391.


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level care, is unsupported. And nowhere is there any discussion why G.K.’s severe depression,

anxiety, stabilized suicidal ideations would improve in a group home or therapeutic school

setting as opposed to the structured environment G.K.’s treating providers believed she needed,

and residential care offered. This denial is not based on substantial evidence in the record.

            Finally, MCMC fails to engage meaningfully with G.K.’s records and the clear

recommendations of G.K.’s three treating providers’ evaluation that G.K. needed residential care

in April 2016 following her suicide attempt and lengthy stabilization. Both the Sunrise records

and provider opinions are consistent, detailed, and compelling, and are referenced in MCMC’s

clinical summary. Yet while MCMC summarizes the facts of the recommendation, the reviewer

offering the denial rational does not meaningfully grapple with them in a way that is not arbitrary

and capricious. At most, MCMC notes G.K.’s vulnerability to relapse as the basis for residential

treatment, and acknowledges G.K. had “regresse[d]” in May 2016, having an “increase in

depression and worry that were she home she would experience suicidal ideation.”252 This brief

acknowledgement is followed not by any further discussion of G.K. or her provider

recommendations, but by the general statement that it “is [sic] standard of care to treat an

individual at the least restrictive setting in which she/he can be safely and effectively treated,”

and the unsupported rationale concerning a lack of residential care at Sunrise.

            As Plaintiffs correctly argue, quoting Gaither v. Aetna Life Ins. Co.,253 Defendants were

required to engage with the treating providers, and were not entitled to “shut their eyes to readily

available information . . .that might confirm” an entitlement to benefits.”254 Defendants’

argument to the contrary—based on the Tenth Circuit declining in Mary D. v. Anthem Blue


252
      A.R. 2386.
253
      394 F.3d 792, 807 (10th Cir. 2004).
254
      Dkt. 71, Plaintiffs’ MSJ, at 32.


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Cross Blue Shield255 to apply this reasoning from Gaither—a case involving disability benefits—

in the health benefits context—is misplaced under the recent cases of David P.256 and D.K.257 As

the court of appeals stated in David P., “UBH relies on an unpublished decision, Mary D. v.

Anthem Blue Cross Blue Shield, . . . to support UBH's assertion that it was not required to

explain why it disagreed with L.P.’s treating care givers’ opinions that she required treatment in

an RTC. This reliance is misplaced in light of this court's more recent published D.K.

decision.”258

           And this denial is not helped, as Defendants urge, by MCMC’s citation without

discussion to titles of nine professional articles or books, or the mere fact that other reviewers

denied coverage before the external reviewer affirmed that decision (which will always be the

case if a decision gets to an external review). First, the fact that an MCMC denial includes a list

of nine references means little if the denial itself fails to adequately support its conclusion. And

there is no citation to or discussion of any of the references in the denial at all.

           Second, Defendants argue where the fact that internal reviewers and an external agent all

found the treatment at issue was not medically necessary, those determinations constitute

substantial evidence that they are is correct under either a de novo or arbitrary and capricious

standard of review. Defendants cite two cases for this proposition. Neither expressly supports

the notion that the fact alone that multiple reviewers all reached the conclusion coverage should

be denied amounts to substantial evidence supporting the denials. Indeed, such as rule would




255
      778 F. App'x 580 (10th Cir. 2019).
256
      77 F.4th 1293.
257
      67 F.4th 1224.
258
      David P., 77 F.4th at 1312.


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mean so long as deferential review is applied in cases where Plaintiffs previously exhausted their

internal appeals, the denials must be upheld in ensuing litigation.

            First, Defendants refer to Amy G. v. United Healthcare,259 in which this court, Judge

Jenkins, upheld the defendants’ denial of benefits for a teen’s lengthy (sixteen-month) stay at a

residential treatment center under the arbitrary and capricious standard where multiple health

care professionals had reviewed the plaintiffs’ request and “found no authorization could be

provided.”260 The court did not find the denials appropriate based solely on the fact that

“[s]everal health care professionals” agreed on the outcome.261 The court reviewed the substance

of UBH’s denials and the external review denial, finding they were not arbitrary and capricious

under the facts of that case, and where Defendants “cited to sufficient evidence in the record to

support these determinations.”262 There, the residential treatment referral was for depression,

mood instability, and family conflict, but the teen in question had no history of hallucinations, or

aggressive, violent, or self-injurious acts, nor suicidal/homicidal ideation or attempts.263 Thus,

not only was the teen not in imminent harm (a requirement for residential treatment), the

reviewers appropriately considered that there was an “absence of any risk of harm” in

determining whether other UBH guideline criteria are met.264

            Defendants also cite Alexandra H. v Oxford Health Insurance, an unpublished case from

the Eleventh Circuit.265 In it, the court reviewed summary judgment granted in favor of the



259
      2018 WL 2303156 (D.Utah May 21, 2018).
260
      Dkt. 83, Defendants’ Opp., at 30 (citing Amy G., 2018 WL 2303156, *5).
261
      2018 WL 2303156 at *5.
262
      Id.
263
      Id. at *1-2.
264
      Id.
265
      763 F.App’x 865 (11th Cir. 2019).


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Defendants’ denial of continued coverage for the adult plaintiff’s “partial hospitalization”

treatment for anorexia following a period of what her own providers called “marked progress.”266

By the time coverage was discontinued after multiple weeks of permitted coverage, the records

were silent as to any suicidal ideation—something that had been repeatedly noted in prior

records.267 Under these facts, the court affirmed summary judgment under either a deferential or

de novo standard. Nowhere does the court state that the fact that reviewers agreed on a coverage

denial in and of itself is substantial evidence.

            In this case, UBH’s denials on retrospective review and first level appeal, and MCMC’s

second level appeal determination are each deficient to the point they are arbitrary and

capricious. Having three deficient denials considered together does not amount to substantial

evidence to save any one of them.

            Based on the foregoing, the court concludes the UBH and MCMC denials do not

“reside[] ‘on the continuum of reasonableness’” or rest on substantial evidence.268 Each sets

forth general rationales not backed up by citations to the Plan language and applicable criteria or

specific records and fails to meaningfully engage with G.K.’s specific medical history of recent

suicidal behavior, long stabilization period, anxiety triggers, and masking. And the MCMC

denial additionally fails to meaningfully discuss the compelling opinions of the treating

providers. Instead, each denial seemed to rely in large part on the fact that G.K. was not suicidal

on admission to Sunrise, when the Plan and UBH guidelines appears to require precisely that

stabilized condition as a requirement for residential care. And the more specific rationales for



266
      Id. at 869.
267
      Id.
268
      Adamson, 455 F.3d at 1212 (quoting Kimber v. Thiokol Corp. at 1098 196 F.3d 1092, 1098 (10th Cir. 1999)).



                                                          61
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provided in Dr. Privette and MCMC’s denials: that G.K. was attending “boarding school” or

receiving group home rather than residential care, are factually and clinically unsupported. The

denials were arbitrary and capricious.

       C. Plaintiffs are Entitled to an Award of Benefits

            The court must determine whether to award Plaintiffs coverage for G.K.’s benefits

outright, or to remand for further administrative review. Remand may be warranted if “the

administrator’s flawed handling could be cured by a renewed evaluation to address, for example,

a ‘failure to make adequate findings or to explain adequately the grounds for decision.’”269

            But a court may award benefits outright in certain circumstance, including includes

“when the record shows that benefits should clearly have been awarded by the administrator.”270

And the Tenth Circuit recently explained “[t]hat is not the only instance in which a court may

award benefits.”271 Benefits may also be awarded if an administrator’s actions “were clearly

arbitrary and capricious,”272 or if remand would simply be an “‘opportunity to retool a defective

system,’”273 or give “an additional ‘bite at the apple’ to ERISA administrators acting

unjustly.”274 This determination is informed by the Defendants’ fiduciary role, which permits

deference, but not “unlimited freedom to act improperly towards claimants.”275

            Thus, the court of appeals in D.K. affirmed the district court’s decision to award benefits

outright after finding the underlying denials were arbitrary and capricious. “Considering the


269
    D.K., 67 F.4th at 1243 (quoting Caldwell v. Life Ins. Co. of N. Am., 287 F.3d 1276, 1288 (10th Cir. 2002)) (other
citations omitted).
270
      Id. (citations omitted).
271
      Id.
272
      Id. (citing DeGrado v. Jefferson Pilot Fin. Ins. Co., 451 F3d 1161, 1175-76 (10th Cir. 2006)).
273
      Id. (quoting Zervos v. Verizon New York, Inc., 277 F.3d 635, 648 (2d Cir. 2002)).
274
      Id. (quoting Grosz-Salomon v. Paul Revere Life Ins. Co., 237 F.3d 1154, 1163 (9th Cir. 2001)).
275
      Id. at 1244 (citations omitted).


                                                            62
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administrator’s clear and repeated procedural errors in denying this claim, it would be contrary to

ERISA fiduciary principles to mandate a remand and provide an additional ‘bite at the apple.’”276

In contrast, in D.P., the court of appeals reversed the district court decision to award benefits

where the record did not clearly show whether Plaintiffs were, or were not, entitled to benefits.277

            Under these principles, and the specific facts of this case, the proper remedy for

Defendants’ wrongful denial of Plan benefits is to award Plaintiffs benefits outright for G.K.’s

care. First, as discussed above, the denials beginning with retrospective review and through the

second level appeal were arbitrary and capricious, citing unsupported facts and rationales,

seemingly requiring G.K. to be currently suicidal to obtain coverage, failing to cite Plan terms or

specific medical records (though MCMC’s does contain a clinical summary), and failing to

grapple with the recommendations of treating providers.

            Second, for the reasons carefully cited in Plaintiffs’ papers,278 the court finds the record

clearly establishes G.K.’s residential treatment was medically necessary and should have been

covered under the Plan when G.K. was admitted to Sunrise in April 2016, and this necessity

remained at least until the fall of 2016, when G.K. began showing consistent signs of

improvement for a few weeks. In April 2016, G.K.’s serious, suicidal behaviors had just

stabilized to the point she could leave the hospital setting at Northwest. Two Northwest treating

providers opined that G.K. needed structured, therapeutic residential level care, and that any

lower level of care would put her at risk of suicidal ideation and other distressing outcomes. And

Sunrise therapist Cabulagan corroborated G.K.’s need for this level of care, noting G.K.’s

continued struggles and symptoms even at Sunrise, but also that the residential care setting


276
      Id.
277
      77 F.4th at 1315.
278
      Dkt. 71, Plaintiffs’ MSJ, at 27-30.


                                                      63
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allowed G.K. to make gains and improvements and to maintain them. As Plaintiffs highlight in

their papers, those improvements became consistent and notable in later summer and fall of

2016, as evidenced, for example, in Sunrise notes from October 17, 2016, reflecting that G.K. is

doing well, happy with present medications, and had a good family visit.

           The court concludes that sometime between October 2016, and continuing through her

discharge two months later, in December 2016, G.K.’s condition seemed clearly to have

consistently improved to the point she might have been discharged. And the court might have,

under different circumstances, remanded this action for further determination as to when the

coverage appropriately ended in that time frame.

           But in view of their fiduciary role, the court declines to give Defendants another ‘bite at

the apple’ in this case in view of the denials discussed above, the evidence clearly supporting

coverage at least through the fall of 2016, and the positions Defendants have taken. Most

notably, Defendants have taken the unsupported position that UBH is simply not a fiduciary at

all, one the court finds clearly at odds with its role as claims administrator and under the

applicable law. This gives the court serious concern about authorizing remand to Defendants

who have argued UBH is not governed by fiduciary duties.

           Under these specific circumstances, the court declines to delay Plaintiffs’ relief any

longer with a remand and awards them their benefits outright.

       D. Plaintiffs have Established Defendants Violated the Parity Act

           In addition to seeking Plan benefits, Plaintiffs also assert a Parity Act claim. The Act

applies to group health plans providing medical/surgical benefits and mental health or substance

use disorder benefits.279 Under it, treatment limitations applicable to mental health benefits may


279
      29 U.S.C. § 1185a(a)(3)(A).


                                                    64
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not be more “more restrictive than the predominant treatment limitations applied to substantially

all” medical/surgical benefits.280 To establish a Parity Act violation, Plaintiffs must show:

            (1) the relevant group health plan is subject to the Parity Act; (2) the plan provides
            both medical/surgical benefits and mental health or substance use disorder benefits;
            (3) the plan includes a treatment limitation for mental health or substance use
            disorder benefits that is more restrictive than medical/surgical benefits; and (4) the
            mental health or substance use disorder benefit being limited is in the same
            classification as the medical/surgical benefit to which it is being compared.281

            The parties do not dispute that the Plan is subject to the Parity Act and provides both

mental health and medical/surgical benefits. And the parties do not dispute that Plaintiffs

identified skilled nursing and inpatient rehabilitation facilities as appropriate medical/surgical

analogues to the sub-acute residential mental health treatment at issue in this case, as they are all

“intermediate services.”282 The third element is disputed: whether Defendants limited coverage

for residential care in a way more restrictive than the medical/surgical analogues. In doing so,

the court “affords no deference” to the benefits administrator and instead examines “‘the plan

documents as a whole’ to determine whether” there is a violation.283

            Treatment limitations evaluated for parity may be quantitative or nonquantitative.284

Nonquantitative limitations include “[m]edical management standards limiting or excluding

benefits based on medical necessity or medical appropriateness.”285 A challenge to a limitation



280
      Id. § 1185a(a)(3)(A)(ii).
281
      M.S. v. Premera Blue Cross, 553 F. Supp. 3d 1000, 1028 (D.Utah 2021) (quotation simplified).
282
   Dkt. 71, Plaintiffs’ MSJ, at 35; Dkt. 73, Defendants’ MSJ, at 32; Dkt. 83, Defendants’ Opp., at 41 (citing 78 Fed.
Reg. 68240-01, 68246-68247 (Nov. 13, 2013)). Defendants dispute the propriety of a third proposed analogue,
hospice care. That dispute is immaterial to the issues the court resolves, as it relates to Plaintiffs’ overall challenge
of the Optum guidelines. The court does not address that challenge.
283
   M.Z., 2023 WL 2634240, at *17 (D.Utah March 24, 2023) (quoting Weber v. GE Grp. Life Assurance Co., 541
F.3d 1002, 1011 (10th Cir. 2008)).
284
      29 C.F.R. § 2590.712(a).
285
      Id. § 2590.712(c)(ii)(F).


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may take one of two forms, either a facial challenge brought based on express Plan terms, or an

as-applied challenge based on the administrator’s application of the plan.286

            Plaintiffs assert Defendants committed as-applied violations. Thus, Plaintiffs can

succeed on its Parity Act claim only by showing “the mental health or substance abuse services

at issue meet the criteria imposed by [the plan] . . . and that the insurer imposed some additional

criteria to deny coverage of the services at issue.”287

            In their opening brief, Plaintiffs assert Defendants committed as-applied violations by

applying nonquantitative limitations to the determination of medical necessity for residential

mental health that they do not similarly apply to the determination of medical necessity for

medical/surgical analogues. Plaintiffs contend Defendants 1) denied coverage because G.K. did

not present with “acute” symptoms, but do not require acute symptoms as a prerequisite for

coverage in the analogous medical/surgical settings of skilled nursing and inpatient rehabilitation

facilities,288 2) apply criteria beyond the Plan terms—the Optum guidelines—when no extra-Plan

guidelines at all are used in determining coverage for at least one analogous category of

medical/surgical treatment, inpatient hospice facilities,289 and 3) in specific Optum guidelines

require “acute changes” in symptoms for residential coverage, while there is no evidence acute

changes are required for coverage for analogous medical/surgical care.290

            Plaintiffs do not clearly develop in their papers how Defendants committed two of the

“as-applied’ violations they assert, leading to a G.K.’s coverage: application of the Optum



286
      J.L. v. Anthem Blue Cross, No. 2:18-cv-00671, 2019 WL 4393318, at *2 (D. Utah Sept. 13, 2019).
287
      Anne M. v. United Behavioral Health, 2022 WL 3576275 at *2 (D. Utah Aug. 19, 2022).
288
      Dkt. 71, Plaintiffs’ MSJ, at 36-37.
289
      Id. at 38.
290
      Id. at 37.


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guidelines generally or the specific guideline language requiring “acute changes in the member’s

signs and symptoms” to deny coverage. The court thus focuses on Plaintiffs’ argument that

Defendants violated the Parity Act by denying coverage for G.K. because she lacked an acute

condition—being suicidal. Plaintiffs do not appear directly tie violation—requiring an acute

condition to obtain residential care coverage—to Defendants’ application of the UBH guidelines.

            Defendants respond that 1) Plaintiffs cannot establish Article III standing to assert such

as claim against UBH where MCMC, not UBH made the final benefits determination and did not

apply Optum guidelines to do so and Plaintiffs have not established any injury resulting from the

alleged violation,291 2) they are allowed to refer to “acute” criteria in evaluating residential

treatment coverage, and that such discussion is appropriate under cases where reviewers were

found to permissibly refer to “the absence of acute symptomology in finding that residential

treatment was not medically necessary.”292 The court disagrees.

       1. Standing

            An ERISA plaintiff “must have standing pursuant to Article III of the United States

Constitution,” demonstrating that 1) they have suffered of an actual or threatened injury in fact,

2) “the injury is causally connected” to the complained-of conduct , and 3) it is likely the injury

“will be redressed by a favorable decision.”293 Defendants argue Plaintiffs cannot establish

standing because they cannot show any Parity Act injury from the violations alleged arising from

the application of Optum guidelines. Defendants argue where MCMC conducted the final




291
      Dkt. 73, Defendants’ MSJ, at 32-33; Dkt. 83, Defendants’ Opp., at 45; Dkt. 88, Defendants’ Reply, at 14-15.
292
      Id. at 37 (citations omitted).
293
   Jonathan Z. v. Oxford Health Plans, 2022 WL 3227909 at *1 (D.Utah Aug. 9, 2022) (citing Thole v. U.S. Bank
N.A., 140 S.Ct, 1615, 1622 (2020) and Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)).


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external review, and purportedly did not apply the Optum guidelines, this shields UBH’s

determinations from Parity Act scrutiny.294

            The court finds Defendants are incorrect, at least at this stage.295 As noted above, UBH’s

denials as the claims administrator are the court’s central focus and must stand on their own.

They result in liability if they show Parity Act violations that resulted in harm to Plaintiffs—for

example, an impermissibly stringent standard applied—whether derived from the guidelines or

not—resulting in a denial of benefits where they would otherwise be granted. MCMC’s own

violations might cement, but are unnecessary, to reach such a result. And, in any event, the

alleged as-applied Parity Act violation the court focuses on—the apparent requirement in the

denial letters that G.K. be suffering from an acute condition to qualify for residential care

coverage—does not depend on the guidelines. Indeed, it arguably contradicts them.

       2. Violation

            Plaintiffs argue “Defendant violated [the Parity Act] when [UBH] denied G.K.’s claims

because she was ‘not in immediate danger of hurting herself’ and ‘was not suffering from an

acute behavioral condition.’”296 Plaintiffs cite for comparison the Plan’s internal

medical/surgical InterQual guidelines for ‘Rehabilitation’ and ‘Sub-Acute SNF [Skilled Nursing

Facility]’ levels of care to contend there is no evidence in the record that Defendants require

acute symptoms to obtain coverage.297 For this violation (unlike the others the court does not




294
      Dkt. 73, Defendants’ MSJ, at 32-33.
295
   As discussed herein, the court finds Defendants violated the Parity Act, and will permit the Plaintiffs to submit
further briefing on the remedy they believe is warranted for any Parity Act. Plaintiffs will still be required to show
they have an existing or likely injury that has not been remedied and is capable of being redressed.
296
      Dkt. 89, Plaintiffs’ Reply, at 15.
297
      Dkt. 71, Plaintiffs’ MSJ, at 36-37 (citing Parity Act Discovery, Sue K. 2616-41).


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consider regarding application of the Optum guidelines) Plaintiffs to not seem to directly rely on

citation to the Optum guidelines.

            To this alleged violation, Defendants respond it was permissible for them to refer in

denial letters to “the absence of acute symptomology in finding that residential treatment was not

medically necessary.”298 Thus, the references to “acute” in the denials was part of an evaluation

of “acuity” –not a requirement G.K. have acute symptoms for residential coverage.299

            As already discussed above in considering the claim for benefits, that is not how the court

reads the discussion of acuity or being suicidal in the denial letters. Rather, the letters to convey

to the reader that an acute condition—being presently suicidal—would have supported, and was

required, for residential treatment care coverage under the Plan.

            Judge Parrish in this District recently reached the same conclusion Jonathan Z. v. Oxford

Health Plans in considering whether rationales in residential treatment care denials amounted to

a Parity Act violation.300 There, one denial stated:

            You were admitted for treatment of Depression. It is reported that you made
            progress and no longer need the type of care and services provided in this setting
            you are not a danger to self or others. You have no medical issues.301

Another denial stated “[y]ou were not thinking about hurting yourself or others,” and “[y]ou

were not hearing or seeing things that others do not.” 302

            In that case, as here, the administrator used the Optum guidelines, including the common

criteria for residential care—that the “member is not in imminent or current risk of harm to self,



298
      Dkt. 73, Defendants’ MSJ, at 37 (citations omitted).
299
      Dkt. 83, Defendants’ Reply, at 51.
300
      2002WL 2528362.
301
      Id.
302
      Id.


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others, and/or property.” 303 And for the relevant medical/surgical analogue, skilled nursing

facilities, the Plan required that there should be “no acute hospital needs,” but there are “intense

and complex care needs.”304

            While the court concluded found no discernable facial Parity Act violation, the substance

of the denial letters amounted to an as-applied violation:

            [i]n practice, however, Oxford [the administrator] applied a more stringent burden
            to Plaintiffs claims for [residential] care . . . than outline in the Plan. Indeed, the
            Plan requires that the member present no imminent risk of serious harm to self or
            others in order to provide coverage at an RTC facility. But Oxford denied
            coverage based upon the rationale that [a teenage beneficiary] was not a danger to
            self or others and did not display suicidal or homicidal ideation. (“You were not
            thinking about hurting yourself or others). Suicidal ideation, homicidal ideation,
            and hallucinations are acute symptoms. Indeed, Oxford’s rational for denying . . .
            coverage at RTC-level facilities more closely mirrors the requirements outline for
            inpatient mental health care treatment: that ‘[t]he member is at imminent risk of
            harm to self or others as evidenced by . . . current suicidal ideation . . . .305

As the undersigned concludes, Judge Parrish found the denial letters were not merely mentioning

the lack of acute symptoms as a starting point to evaluate whether care could be stepped down—

they were a basis to contend residential care was entirely unavailable. This amounts to an as-

applied Parity Act violation. And it does not depend on application of the UBH guidelines.

Rather, as Judge Parrish suggested, it actually seems incongruent with them.

            Thus, the court concludes that the UBH retrospective review and first level appeal

denial letters, and MCMC’s second level denial violated the Parity Act by requiring G.K. to be

presenting suffering from an acute condition—being suicidal—when such an acute condition is

not required to receive analogous medical/surgical care at a skilled nursing facility.




303
      Id.at 3.
304
      Id. at 20.
305
      Id.


                                                      70
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       3. Further Briefing on Parity Act Remedies, Fees, Costs, and Prejudgment Interest

            Having found an as-applied violation of the Parity Act, Plaintiffs are invited to

submit supplemental briefing on the issue of the availability and propriety of a remedy.

Additionally, Plaintiffs in their opening brief requested the opportunity to brief the propriety of

an award of prejudgment interest, attorneys’ fees, and costs under 29 U.S.C. § 1132(g), should

they prevail on their Motion for Summary Judgment.306 Thus, within fourteen (14) days,

Plaintiffs shall submit a combined brief no longer than fifteen (15) pages within fourteen (14)

days on these issues. After Plaintiffs file their brief, Defendants shall have fourteen (14) days to

respond with a brief also limited to fifteen (15) pages.

IV.         CONCLUSION

            Based on the foregoing, the court GRANTS Plaintiffs’ Motion for Summary Judgment307

and DENIES Defendants’ Motion for Summary Judgment.308 The court awards Plaintiffs G.K.’s

benefits for her entire residential treatment at Sunrise on Plaintiffs’ first cause of action, for Plan

benefits. On Plaintiffs’ second cause of action, the court concludes Defendants committed an as-

applied Parity Act violation. Further briefing is invited on Parity Act remedies, attorney fees,

costs, and prejudgment interest.

            So ordered this 29th day of September 2023.

                                                  BY THE COURT:


                                                  ________________________________________
                                                  ROBERT J. SHELBY
                                                  United States Chief District Judge



306
      Dkt. 71, Plaintiffs’ MSJ, at 40-41.
307
      Id.
308
      Dkt. 73, Defendants’ MSJ.


                                                     71
